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EXHIBIT A

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C C

MACONDO PROSPECT
OFFSHORE DEEPWATER
OPERATING AGREEMENT

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CO C

1 OPERATING AGREEMENT
2 OUTER CONTINENTAL SHELF —- GULF OF MEXICO
3 This Agreement, effective as of October 1, 2009 (the “Effective Date"), is

« between BP Exploration & Production Inc. (“BP”) and MOEX Offshore 2007 LLC
s (“MOEX’), the signers of this Agreement, each referred to individually as a “Party” and
s collectively as the “Parties.”

? Whereas the Parties own one or more Leases, identified in Exhibit “A”
s (Description of Leases), and desire to explore, appraise, develop, and operate the
9 Leases for the production of Hydrocarbons;

40 Now, therefore, in consideration of the premises and mutual promises in this
11 Agreement, the Parties agree to explore, appraise, develop, and operate the Contract
x2 Area under the following provisions:

13 ARTICLE 1 — CONTRACT APPLICATION
4 1.1. Application in General
15 This Agreement governs the rights and obligations of the Parties relating, without
48 limitation, to the exploration, appraisal, development, operation, production,
7 treatment, gathering, and storage of Hydrocarbons. This Agreement does not
18 apply to the fabrication or installation of Export Pipelines.
19 1.2 Application to the Contract Area
20 This Agreement applies to the entire Contract Area. Uniess otherwise provided
21 in this Agreement, all the rights and obligations in and under the Leases
22 comprising the Contract Area, all property and rights acquired pursuant fo this
23 Agreement, and all Hydrocarbons are owned by the Parties according to their
24 respective Working Interest or Participating Interest, as applicable.
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ARTICLE 2 ~ DEFINITIONS

2 2.1 Additional Testing, Logging, or Sidewall Coring

3 Testing (excluding Production Testing), logging, or sidewall coring that is in
4 addition to that approved by virtue of a previously approved well or subsequent
5 operation.

6 2.2 Affiliate

7 A corporation, company, limited liability company, partnership, or other legal
3 entity that:

9 (a) is owned or controlled by a Party,

10 (bo) is owned or controlled by another corporation, company, limited liability
44 company, partnership, or other legal entity that is owned or controlled by a
42 Party,

43 {c) owns or controis a Party, or

“4 (d} is owned or controlled by a corporation, company, limited lability company,
#5 partnership, or other legal entity that owns or controls a Party.

18 For the purposes of this definition, ownership or control means the ownership,
17 directly or indirectly, of fifty percent (50%) or more of the shares, voting rights, or
18 interest in a corporation, company, limited liability company, partnership, or other
19 legal entity.

20 2.3 Agreement
24 This operating agreement, together with its attached Exhibits.

2 2.4 Annual Operating Plan
23 The operational plan and estimate of Costs for activities and operations, as

24 described in Article 6.4 (Annual Operating Plan).

28 2.5 Appraisal Operation

26 An operation (including, but not limited to, an operation after an Appraisal Weil
27 has reached its Objective Depth but before the attempted completion of the well)
28 conducted under Article 11 (Appraisal Operations).
2
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1 2.6 Appraisal Well

2 A well proposed and drilled as an Appraisal Operation fincluding, but not limited
3 to, a substitute well for an Appraisal Well abandoned under Article 11.1.4 (AFE
4 Overruns and Substitute Weil}}.

5 2.7. Authorization for Expenditure (AFE)

6 A written description and Cost estimate of a proposed activity or operation
7 accompanying a proposal for that activity or operation.

8 2.8 Complete Recoupment

9 The point in tine when the Participating Parties have been reimbursed, through
40 Hydrocarbon Recoupment, through Disproportionate Spending, or through a
“4 lump sum cash settlement, an amount equal to the Non-Participating Party's
42 Non-Participating Interest Share of the Costs of the Non-Consent Operation
43 multiplied by the applicable percentage provided in Article 16 (Non-Conseni
44 Operations).

15 2.9 Confidential Data

16 All proprietary geophysical, geological, geochemical, drilling, or engineering data
7 acquired or derived from operations conducted under this Agreement and all
48 analyses, compilations, maps, models, interpretations, and other documents that
49 reflect or incorporate that data. The term also includes, but is not limited to:

20 (a) the provisions of this Agreement, subject to Exhibit “!; and

2 (b) commercial, contractual, and financial information acquired or derived from
22 activities or operations conducted under this Agreement,

23 however, the term does not include the fact that the Operator has let a contract
24 for an activity or operation to be conducted under this Agreement. The term
26 excludes “Confidential Information” as that term is defined in Exhibit “G.”

28 2.10 Contract Area
2 The OCS Leases, or portions thereof, listed on Exhibit “A.”

28 2.11 Costs

29 The monetary amount of all expenditures (or indebtedness) incurred by the
30 Operator and the Participating Parties in the conduct of activities and operations,
at determined under this Agreement.
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4 2.12 Deepen or Deepening

2 An operation to drill an existing well (including sidetracking a well) deeper than
3 the stratigraphic equivalent of the Objective Depth of any prior operation
4 conducted in the well.

8 2.13 Deeper Drilling

8 The drilling of an Appraisal Well or Development Well below the Deepest
z Producible Reservoir in existence when the well is proposed.

8 2.14 Deepest Producible Reservoir

9 The deepest Producible Reservoir in existence when a drilling or Deeper Drilling
10 proposal is made.

14 2.15 Define AFE

2 The AFE for the Define Stage.

13 2.16 Define Stage

14 The stage of a Development Phase during which the Operator, with the
15 assistance of the Project Team, if applicable, will (a) commence the
16 implementation of a Development Plan, (b) complete enough of the detailed
7 design of the Development System to enable contractors to formulate their bids
48 on the components of the Development System, and (c) submit an Execution
19 AFE to the Parties for their review and approval.

20 ‘247 Development Operation

21 An operation (including, but not limited to, a Recompletion, a Workover, the attempted completion
22 of an Exploratory Well or an Appraisal Well, or an operation after a Development Weil has
23 reached its Objective Depth) conducted under Article 13 (Development Operations)

24 or under Article 11.6 (Operations Before the Approval of the Development Plan).
25 2.18 Development Phase

26 The proposals, activities, and operations associated with determining the
2 feasibility of development and the design, fabrication or acquisition, and
28 installation of a Development System.

29 2.19 Development Plan

30 The plan for a Development Phase, as described in Article 12 (Development
34 Phases).
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i 2.20 Development System

2 A Production System and its associated Facilities.

3 2.21 Development Well

4 A well proposed and drilled as a Development Operation [including, but not
5 limited to, a substitute well for a Development Well abandoned under Article
6 13.1.4 (AFE Overruns and Substitute Well)].

7 2.22 Disproportionate Spending

8 The payment of the Costs of an activity or operation by a Participating Party in
9 excess of its Participating Interest Share of the Costs of that activity or operation
10 in order to settle an Underinvestment previously incurred by that Participating
4 Party.

12 2.23 Election, Elect, Elects, Elected, Electing

43 A response or deemed response by a Party to a proposal requiring approval
44 under Article 8.2.2 (Approval by Election), or the act by a Party of responding to
18 a proposal requiring approval under Article 8.2.2 (Approval by Election).

48 2.24 Enhanced Recovery Project Team AFE

17 The AFE that is to accompany a proposal for the formation of a Project Team
18 whose sole scope of work is the design of an enhanced recovery and/or
19 pressure maintenance program.

20 2.25 Execution AFE

21 A collection of AFEs, which, according to the submitting Party’s estimates, will
22 cover all of the Costs of the Execution Stage (which do not include the Costs of
23 Development Wells), and which shall be deemed by the Parties to have been
24 submitted as one AFE.

2B 2.26 Execution Stage

26 The final stage of a Development Phase during which the Operator, with the
27 assistance of the Project Team, if applicable, will complete the implementation of
28 the Development Plan, implement the Execution AFE, and commence the first
29 production of Hydrocarbons for that particular Development Phase.

30 2.27 Exploratory Operation

31 An operation (including, but not limited to, an operation after an Exploratory Well
32 has reached its Objective Depth but before the attempted completion of the well,
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1 except for Production Testing) conducted under Article 10 (Exploratory

2 Operations).

8 2.28 Exploratory Well

4 A well proposed and drilled as an Exploratory Operation [including, but not
5 limited to, a substitute well for an Exploratory Well abandoned under Article
8 10.1.4 (AFE Overruns and Substitute Well)}.

7 2.29 Export Pipelines

8 Pipelines to which a gathering line or lateral line downstream of the Development
9 System is connected and which are used to transport Hydrocarbons or produced
40 water to shore. ‘

4 2.30 Facilities

42 Production equipment located downstream of the wellhead connections, which is
8 installed on or outside the Contract Area in order to enhance, handle, or process
14 Hydrocarbon production or transport Hydrocarbons to processing facilities.
15 Facilities include, but are not limited to, control umbilicals, disposal wells and
16 their associated components, flowlines, and gathering lines or lateral lines and
7 their associated components that are paid for by the Joint Account. Facilities
48 exclude (1) Production Systems, (2) Export Pipelines, (3) the equipment
19 procured and utilized for an enhanced recovery and pressure maintenance
20 program described in Article 12.11 (Enhanced Recovery and/or Pressure
a Maintenance Program Proposals), and (4) the facilities referred to in Article 15.2
22 (Facilities to Take in Kind).

23 2.31 Feasibility AFE
2a The AFE for the Feasibility Stage.

25 2.32 Feasibility Stage

28 The stage of a Development Phase during which the Operator, with the
27 assistance of the Feasibility Team, will attempt to find at least one scenario for
28 the development of Hydrocarbons, which is technologically and economically
2a feasible.
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1 2.33 Feasibility Team
2 A group of employees, contractors, and/or consultants of the Participating
3 Parties or their respective Affiliates that assists the Operator during the
4 Feasibility Stage.
5 2.34 Force Majeure
8 An event or cause that is reasonably beyond the control of the Party claiming the
7 existence of such event or cause, which includes, but is not limited to, a flood,
8 storm, hurricane, loop current/eddy, or other act of God; a fire, loss of well
9 control, oi! spill, or other environmental catastrophe; a war, a civil disturbance, a
10 terrorist act, a labor dispute, a strike, a lockout; an inability to immediately
4 comply with a law, order, rule, or regulation; a governmental action or delay in
12 granting necessary permits or permit approvals; and the inability to secure
43 materials or a rig.
44 2.35 HSE
18: Health, safety, and environment.
16 2.36 Hydrocarbon Recoupment
"7 An amount to be recovered by the Participating Parties from all or part of the
18 Non-Participating interest Share of the proceeds from the sale of future
19 Hydrocarbon production equal to the Non-Participating Interest Share of the
20 Costs of the Non-Consent Operation multiplied by the applicable percentage in
ai Article 16 (Non-Consent Operations).
22 2.37 Hydrocarbons
23 The oil, gas, and associated liquid and gaseous by-products (except helium) that
24 may be produced from a well bore on the Contract Area.
26 2.38 Joint Account
26 The account maintained by the Operator under this Agreement, showing the
7 charges paid and credits received in connection with the activities and operations
28 conducted under this Agreement.
29 2.39 Lease
30 Each OCS federal oil and gas lease (or portion thereof) identified in Exhibit “A”
31 and each oif and gas lease covering one or more OCS blocks, or portions
32 thereof, in the Contract Area that is acquired during the term of this Agreement

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1 by the Operator and the Non-Operating Parties (including substitutions for and

2 replacements of existing Leases).

3 2.40 MMS

4 The Minerals Management Service, United States Department of Interior, or its
8 successor agency.

8 2.41 News Release

? A press release or other public announcement or disclosure by a Party
8 containing a reference, either directly or by implication, to this Agreement or the
a activities or operations herein contemplated, including, but not limited to, any
10 public release via print media, broadcast news, internet, extranet, public
14 networks or service providers, and discussions with journalists.

12 2.42 Non-Consent Operation

8 An activity or operation proposed and approved under this Agreement in which
44 one or more Parties, having the contractual right to do so, Elect or Vote not to
48 participate, except when an activity or operation is approved by Vote and the
46 approval binds all Parties.

4? 2.43 Non-Operating Party
18 A Party other than the Operator.

49 2.44 Non-Participating Party

20 A Party who, having the contractual right to do so, Elects or Votes not to
2 participate in sharing the Costs, risks, and benefits (including the rights to
22 Hydrocarbons) of an activity or operation proposed and approved under this
28 Agreement, except when an activity or operation is approved by Vote and the
24 approval binds all Parties.

26 2.45 Non-Participating interest Share

28 The percentage of participation in the Costs, risks, and benefits (including rights
2 to Hydrocarbons) that a Non-Participating Party would have had in a proposed
28 activity or operation if all Parties had participated in that proposed activity or
29 operation.

wD 2.46 Objective Depth

at For each well, the shallower of the total footage to be drilled by that well (as
32 measured in true vertical subsea depth) or the penetration by the drill bit to the
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4 base of the deepest target formation or interval in that well, as that depth or
2 target formation or interval is stated in the AFE for the well.

3 2.47 OCS

4 The Outer Continental Shelf of the Gulf of Mexico.

5 2.48 Offsite Host Facilities

8 Production equipment that is (a) used to process or handle Hydrocarbon
7 production and (b) owned by one or more third parties or by one or more
8 Participating Parties in an Execution AFE (under which that production
9 equipment is to be utilized for Hydrocarbon production), whose respective
10 ownership interests in the production equipment are not exactly the same as

1" their respective Participating Interest Shares in the Execution AFE.

12 2.49 Operator

43 The Party designated in Article 4.1 (Designation of the Operator), a successor
14 Operator selected under Article 4.5 (Selection of Successor Operator), and, if
15 applicable, a substitute Operator selected under Article 4.2 (Substitute Operator).

6 2.50 Overinvested Party

17 A Party entitled to receive its Participating Interest Share of an Underinvestment.
18 2.51 Participating Interest Share

19 A Participating Party's percentage of participation in:

20 (a) the Costs, risks, and benefits (including rights to Hydrocarbons) of an
a approved activity or operation; or,

22 (b) if applicable, interests to be assigned to the Parties.

23 A Participating Party’s percentage of participation is either the proportion,
24 expressed as a percentage, that the Participating Party’s Working interest bears
25 to the total Working interests of all Participating Parties or such different basis for
28 Cost sharing or assignment as the Participating Parties agree upon.

a7 2.52 Participating Party

28 A Party who, having the contractual right to do so, participates in the sharing of:
29 (a) the Costs, risks, and benefits (including rights to Hydrocarbons) of an
30 approved activity or operation; or,
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1 (b) if applicable, the interests to be assigned to the Parties.
2 The term includes a Party who does not Vote to participate in a proposed activity
3 or operation, but is nonetheless bound to participate in that proposed activity or
4 operation if it is approved by Vote.
5 2.53 Post-Production Project Team AFE
6 An AFE submitted in association with the continuance of the Project Team under
7 Article 12.8 (Post-Production Project Team AFEs).
8 2.54 Producible Reservoir
9 An underground accumulation of Hydrocarbons (a) separate from and not in
10 Hydrocarbon communication with another accumulation of Hydrocarbons, and
4 (b) into which a Producible Well has been drilled.
12 2.565 Producible Well
43 A weil on the Contract Area that:
14 {a) produces Hydrocarbons;
18 (bo) meets, according to the MMS, the “well producibility criteria” in Title 30 CFR
6 250.116 or any succeeding order or regulation issued by an appropriate

47 governmental authority; or

18 (c) the Participating Parties in the subject well unanimously agree is a
19 Producible Well.
20 2.56 Production System
24 A system or combination of systems on the Contract Area to develop, produce,
22 store, distribute, and initiate the transportation of Hydrocarbons. The term
23 includes:
24 {a} an offshore surface structure, whether fixed, compliant, or floating;
28 {o) a subsea structure or template designed as a guide to or to provide
26 structural rigidity to one or more wells;
a (c} any combination of the items mentioned in clauses (a) and (b);
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4 (d) any other type of structure designed to develop and produce Hydrocarbons;

2 and

3 (e) all associated components of the items mentioned above, including, but not
4 limited to, a drilling rig, mooring lines, and anchor piles.

5 Production System excludes Facilities, mobile offshore drilling units, and the
6 facilities referred to in Article 15.2 (Facilities to Take in Kind).

7 2.57 Production Testing

8 Operations for the controlled flow of Hydrocarbons to the surface for the purpose
9 of measuring flow rates or flowing pressures, or gaining other subsurface data.

40 2.58 Project Team

vt A group of employees, contractors, and/or consultants of the Participating
12 Parties or their respective Affiliates, who assists the Operator in carrying out the
13 scope of work for the Selection Stage, Define Stage, and Execution Stage and
44 the scope of work under Articles 12.8 (Post-Production Project Team AFEs) and
16 12.11 (Enhanced Recovery and/or Pressure Maintenance Program Proposals).

46 2.59 Recampletion

v7 A Development Operation in a single well bore in which a completion in one
48 Producible Reservoir is abandoned in order to attempt a completion in a different
49 Producible Reservoir. To “Recomplete” means to conduct a Recompletion.

20 2.60 Selection AFE

2 The AFE for the Selection Stage.

22 2.61 Selection Stage

23 The stage of a Development Phase during which the Operator, with the
2 assistance of the Project Team, if applicable, will determine whether to:
26 (a) install a Development System on the Contract Area, or
28 {b}  tie-back to, and utilize,
27 (i) a Development System resulting from a previous Development
28 Phase or
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1 (ii) a development system and/or facilities located outside the Contract
2 Area

3 in order to produce Hydrocarbons.

4 2.62 Sidetracking

5 An operation to directionally control or intentionally deviate a well to change the
é bottomhole location to another bottormhole location not deeper than the
7 stratigraphic equivalent of the Objective Depth of an operation previously
8 conducted in the well, unless the intentional deviation is done to straighten the
8 hole, drill around junk, or overcome other mechanical difficulties. To “Sidetrack”
10 means to conduct a Sidetracking.

4 2.63 Transfer of interest

12 A conveyance, assignment, transfer, farmout, exchange, or other disposition of
13 all or part of a Party’s undivided Working Interest.
14 2.64. Underinvested Party
15 A Party with an Underinvestment.
48 2.65 Underinvestmnent
7 A monetary obligation incurred under this Agreement to be settled under Article
18 16.9 (Settlement of Underinvestments).
19 2.66 Vote
20 As a noun, a response or deemed response by a Party to a proposal requiring
21 approval under Article 8.2.1 (Approval by Vote); as a verb, to respond to a
22 proposal requiring approval under Article 8.2.1 (Approval by Vote).
23 267 Well Plan
2a A detailed written description accompanying a proposal to drill an Exploratory
2B Well, Appraisal Well, or Development Well, or to conduct a Workover,
26 Recompietion, well repair, or subsequent operation at Objective Depth, which
27 must include, at a minimum:
a8 {a) the surface and target bottomhole locations of the operation, if applicable;
28 fb) the expected commencement date of the operation and the anticipated
30 time necessary to conclude the operation;
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4 (c} the total vertical subsea depth to be drilled, along with the specified
Objective Depth (and the target zones to be penetrated), if applicable;

nw

3 (d) the proposed drilling plan, if applicable, and the proposed completion plan,
4 including the casing program and directional details, if applicable;

5 (e) details of all coring, logging, and other evaluation operations to be
6 conducted, if applicable; and

7 (f} information about the drilling rig to be used, including day rates, water
8 depth rating, and other limitations relevant to the operations to be
9 conducted, if applicable.

40 2.68 Working interest

1 The record title leasehold interest or, where applicable, the operating rights of
42 each Party in and to each Lease (expressed as the percentage provided in
13 Exhibit “A’). If a Party's record title interest is different from its operating rights,
44 the Working Interest of each Party is the interest provided in Exhibit “A.”
15 2.69 Workover
46 A Development Operation conducted in an existing well after the well has been
7 compieted in one or more Producible Reservoirs to restore, maintain, or improve
18 production from one or more of those Producible Reservoirs.
19 ARTICLE 3 — EXHIBITS
20 3.1 Exhibits
21 All references in this Agreement to “Exhibits” without further qualification mean
22 the Exhibits fisted below and attached to this Agreement. Each Exhibit is made a
23 part of this Agreement and is incorporated into this Agreement by this reference.
24 if any provision of an Exhibit conflicts with any provision of the body of this
25 Agreement, the provision of the body of this Agreement shall prevail, with the
28 exception of Exhibits "C,” “D,” and ”G,” each provision of which shall prevail over
7 any provision of the body of this Agreement, except as provided in Article 6.2.4
28 (Long Lead Well Operation AFEs). if any provision of Exhibit “C” conflicts with
29 any provision of Exhibit “G,” the provision of Exhibit “G” shall prevail. If any
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‘ provision of Exhibit “C” conflicts with any provision of Exhibit “D,” the provision of

2 Exhibit “C” shail prevail.
3 Exhibit “A” Description of Leases, Working Interests of the Parties, and
4 Representatives
5 Exhibit “B” Insurance Provisions
8 Exhibit “G” Accounting Procedure
? Exhibit “D” Gas Balancing Agreement
8 Exhibit “E” Certification of Non-segregated Facilities
a Exhibit “F” Security Interest Provisions
10 Exhibit “G” Project Team and Technology Sharing
14 Exhibit “H” Dispute Resolution Procedure
12 Exhibit “1” Well Data Trade and Confidentiality Agreement
13 Exhibit-* —____Tax Partnership INTENTIONALLY DELETED
ta Exhibit “K” Heath, Safety and Environment
15 Exhibit “L” Geophysical Operations Provisions
16 ARTICLE 4— SELECTION OF OPERATOR
17 4.1. Designation of the Operator
18 BP Exploration & Production Inc. is designated as the Operator of the Contract
19 Area. The Parties shall promptly execute and file all documents required by the
20 MMS in connection with the designation of BP Exploration & Production Inc. as
ai Operator or with the designation of any other Party as a substitute or successor
22 Operator. Unless agreed otherwise by all the Parties, the Operator shall be
23 classified as the designated applicant for oi! spill financial responsibility
24 purposes, and each Non-Operating Party shall promptly execute the appropriate
26 documentation reflecting that classification and promptly provide that
26 documentation to the Operator for filing with the MMS.
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1 4.2 Substitute Operator
2 4.2.1 Substitute Operator if Operator is a Non-Participating Party
3 Except as otherwise provided in Article 4.2.3 (Circumstances Under
4 Which the Operator Must Conduct a Non-Consent Operation), if the
5 Operator is a Non-Participating Party in a Non-Consent Operation, the
8 Participating Parties may approve by Vote the designation of any
7 Participating Party as the substitute Operator. The substitute Operator
8 shall serve as the Operator only (a} for the Non-Consent Operation (if
9 the Non-Consent Operation is the drilling of a well, through the release
10 of the drilling rig for that well), (b) of the Lease affected by the Non-
4 Consent Operation, and (c) with the same authority, rights, obligations,
42 and duties as the Operator, subject to the limitations in (a) and (b). Ifa
13 Non-Operating Party is the only Participating Party in a Non-Consent
14 Operation, then the Non-Operating Party shall be designated as the
45 substitute Operator for that Non-Consent Operation, with no Vote
16 required, unless the Non-Operating Party elects not to accept the
17 designation. A Non-Operating Party, who is a Participating Party, shall
18 not be designated as a substitute Operator against its will. If a
49 substitute Operator is not designated under the foregoing procedures,
20 the Operator shall, upon the unanimous agreement of the Participating
2 Parties, conduct the Non-Consent Operation on behalf of the
22 Participating Parties and at the Participating Parties’ sole Cost and risk
23 under Article 16 (Non-Consent Operations). \f the Participating Parties
24 do not approve by Vote a substitute Operator to conduct the Non-
25 Consent Operation or do not unanimously agree that the Operator shall
26 conduct the Non-Consent Operation on behalf of the Participating
2 Parties, then the proposal of the Non-Consent Operation shall be
28 deemed withdrawn, with the effect as if the proposal for the Non-
28 Consent Operation had never been proposed and approved.
30 4.2.2 Substitute Operator if Operator Fails to Commence Drilling
31 Operations
32 if the Operator fails to timely commence an Exploratory Well in
a3 accordance with Article 10.1.3 (Timely Operations), an Appraisal Well
34 in accordance with Article 11.1.3 (Timely Operations) or a Development
38 Well in accordance with Article 13.1.3 (Timely Operations}, the non-
%6 operating Participating Parties may select a substitute Operator in the
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1 same manner as the selection of a successor Operator under Articie
2 4.5 (Selection of Successor Operator}, and the substitute Operator
3 shall serve as the Operator only (a) for the drilling of that well through
4 the release of the drilling rig for that well, (b) of the Lease on which the
5 well is drilled, and (c) with the same authority, rights, obligations, and
8 duties as the Operator, subject to the limitations in (a) and (b).
7 4.2.3 Circumstances Under Which the Operator Must Conduct a Non-
8 Consent Operation
9 If:
40 (a) a drilling rig is on location and the Operator becomes a Non-
4 Participating Party (ij) in a supplemental AFE pursuant to the
12 terms of Article 6.2.2 (Supplemental AFEs), or (ii) after reaching
43 Objective Depth as provided in Article 10.2 (Exploratory
14 Operations at Objective Depth), Article 11.2 (Appraisal Operations
48 at Objective Depth), or Article 13.2 (Development Operations at
48 Objective Depth), or
7 (b) the Operator becomes a Non-Participating Party in an operation
48 to be conducted on or from a Development System operated by
19 the Operator, .
20 the Operator, as a Non-Participating Party, shall conduct the Non-
ai Consent Operation on behalf of the Participating Parties and at the
2 Participating Parties’ sole Cost and risk under Article 16 (Non-Consent
23 Operations).
24 4.2.4 Operator’s Conduct of a Non-Consent Operation in Which it is a
5 Non-Participating Party
28 When, under Article 4.2.1 (Substitute Operator if Operator is a Non-
2 Participating Party) or Article 4.2.3 (Circumstances Under Which the
28 Operator Must Conduct a Non-Consent Operation), the Operator
29 conducts a Non-Consent Operation in which it is a Non-Participating
30 Party, it shall follow the practices and standards in Article 5 (Rights and
31 Duties of Operator). The Operator shail not be required to proceed with
32 the Non-Consent Operation until the Participating Parties have
33 advanced the Costs of the Non-Consent Operation to the Operator.
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1 The Operator shall never be obligated to expend any of its own funds

2 for the Non-Consent Operation.

3 4.25 Appointment of a Substitute Operator

4 After expiration of all applicable response periods for the Non-Conseni
5 Operation and selection of a substitute Operator, each Party shall
3 promptly provide the substitute Operator with the appropriate MMS
? designation of operator forms and certification of oil spill financial
8 responsibility forms. The Operator and the substitute Operator shall
9 coordinate the change of operatorship to avoid interfering with ongoing
10 activities and operations, if any, including but not limited to, lease

"4 maintenance activities and operations.

12 4.2.6 Redesiqnation of Operator

18 Within fifteen (15) days after conclusion of the Non-Consent Operation,

14 al! Parties shall execute and provide the Operator with the appropriate

45 MMS designation of operator forms and certification of oil spill financial

16 responsibility forms to return operatorship to the Operatcr, thereby

47 superseding the Parties’ designation of the substitute Operator under

48 Article 4.2.5 (Appointment of a Substitute Operator).

9 4.3 Resignation of Operator

20 Subject te Article 4.5 (Selection of Successor Operator}, the Operator may resign

21 at any time by giving written notice to the Parties, except that the Operator may

22 not resign during a Force Majeure or an emergency that poses a threat to life,

23 safety, property, or the environment. If the Operator ceases to own a Working

24 Interest, the Operator automatically shall be deemed to have resigned as the

25 Operator without any action by the Non-Operating Parties.

26 4.4 Removal of Operator

az The Operator may be removed under the following circumstances:

28 4.41 Removal Upon Assignment

29 if the Operator assigns part of its Working Interest (excluding an

30 interest assigned to an Affiliate) and the assignment reduces the

34 Operator's Working Interest to less than the Working interest of a

32 Non-Operating Party, whether accomplished by one or more
17

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‘ assignments, then the removal of the Operator requires approval by

2 Vote.
3 4.4.2 Removai for Cause by Vote
4 Under the following circumstances, the removal of the Operator shall
5 be approved by Vote, excluding the Vote of the Operator:
a (a) the Operator is found liable by a final judicial decision or a final
? decision under binding arbitration for an act of gross negligence or
8 willful misconduct regarding the Contract Area;
9 (b) the Operator commits a substantial breach of a material provision
10 of this Agreement and fails to cure the breach within thirty (30)
4 days after receipt of written notice of the breach from a Non-
42 Operating Party. If the breach specified in the notice reasonably
43 cannot be corrected within the thirty (30) day period, but the
44 Operator within said period begins action to correct the breach
46 and thereafter diligently carries the corrective action to
16 completion, the Operator shail not be removed. The Operator
7 shall not be removed under this Article 4.4.2 if the Operator is
18 able to prove the non-existence of the alleged breach within thirty
19 (30) days after receipt of written notice of the alleged breach;
z0 (c) the Operator becomes insolvent or unable to pay its debts as they
21 mature, makes an assignment for the benefit of its creditors,
22 commits an act of bankruptcy, or seeks relief under laws providing
23 for the relief of debtors;
24 (d) a receiver is appointed for the Operator or for substantially all of
26 its property or affairs; or
26 fe) the Operator fails to timely commence the fabrication or
at acquisition of the Development System in accordance with Article
28 42.7.9 (Timely Operations for Development Systems).
2 4.4.3 Timing of Vote to Remove Operator
30. A Vote to remove the Operator for cause as provided in this Article 4.4
31 shall be taken within ninety (90) days after the Non-Operating Party's
32 actual knowledge of the cause.

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1 4.5 Selection of Successor Operator
2 Upon the resignation or removal of the Operator, a successor Operator shail be
3 approved by Vote, subject to this limitation on the Voting right of Operator: if the
4 resigned or removed Operator is not entitled to Vote, fails to Vote, or Votes only
5 to succeed itself, then the successor Operator shall be approved by Vote after
8 excluding the Vote of the resigned or removed Operator. If the Operator assigns
7 all or a part of its Working interest, then under Article 4.3 (Resignation of
8 Operator} or Article 4.4.1 (Removal Upon Assignment) the Party who acquired ail
8 or a part of the former Operator's Working Interest shall not be excluded from
40 Voting for a successor Operator. If there are only two Parties to this Agreement
4 when the Operator resigns or is removed, then the Non-Operating Party
42 automatically has the right, but not the obligation, to become the Operator. If no
43 Party is willing to become the Operator, this Agreement shall terminate under
14 Article 26.1 (Term).
48 4.6 Effective Date of Resignation or Removal
16 The resignation or removal of the Operator shall become effective as of 7:00
47 a.m. on the first day of the month following a period of ninety (90) days from, and
18 inclusive of, the day of the Parties’ receipt of the applicable notice, unless a
19 fonger period is required for the Parties to obtain approval of the designation of
20 the successor Operator, and certification for oil spill financial responsibility
24 purposes by the MMS, in which case the resignation or removal of the Operator
2 shall become effective at 7:00 a.m. on the day immediately following MMS
23 approval. The resignation or removal of the outgoing Operator shail not prejudice
24 any tights, obligations, or liabilities of the outgoing Operator which accrued
26 during its tenure. The outgoing Operator and the successor Operator may
28 charge the Joint Account for the reasonable Costs incurred in connection with
2 the change of operatorship, except when the change of operatorship results from
28 a merger, consolidation, reorganization, or sale or transfer to an Affiliate of the
29 ' Operator.

30 4.7 Delivery of Property

3 On the effective date of resignation or removal of the Operator, the outgoing
32 Operator shall deliver to the successor Operator custodianship of the Joint
33 Account and possession of all items purchased for the Joint Account under this
34 Agreement; all Hydrocarbons that are not the separate property of a Party; ali
38 equipment, materials, and appurtenances purchased for the Joint Account under
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4 this Agreement; and all books, records, and inventories relating to the Joint

2 Account (other than those books, records, and inventories maintained by the
3 outgoing Operator as the owner of a Working interest). The outgoing Operator
4 shail further use its reasonable efforts to transfer to the successor Operator, as
5 of the effective date of the resignation or removal, its rights as Operator under all
6 contracts exclusively relating to the activities or operations conducted under this
? Agreement, and the successor Operator shall assume all obligations of the
8 Operator that are assignable under the contracts. The Parties may audit the
9 Joint Account and conduct an inventory of all property and all Hydrocarbons that
10 are not the separate property of a Party, and the inventory shall be used in the
" return of, and the accounting by the outgoing Operator of, the property and the
12 Hydrocarbons that are not the separate property of a Party. The inventory and
43 audit shall be conducted under Exhibit “C.”
44 ARTICLE 5 —- RIGHTS AND DUTIES OF OPERATOR
48 5.1 Exclusive Right to Operate
46 Except as otherwise provided, the Operator has the exclusive right and duty to
7 conduct {or cause to be conducted) all activities or operations under this
18 Agreement. In performing services under this Agreement for the Non-Operating
49 Parties, the Operator is an independent contractor, not subject to the control or
20 direction of Non-Operating Parties, except as provided in Article 8.2 (Voting and
24 Election Procedures) or Article 8.5 (Approved by Unanimous Agreement). The
22 Operator is not the agent or fiduciary of the Non-Operating Parties. With the
23 exception of any Feasibility Team or Project Team formed under this Agreement,
24 the Operator shall select and determine the number of employees, Affiliates,
26 contractors, and/or consultants used in conducting activities or operations under
28 this Agreement and the hours of labor and the compensation for those
2? employees, Affiliates, contractors, and/or consultants. All of those employees,
28 Affiliates, contractors, and/or consultants shall be the employees, Affiliates,
28 contractors, and/or consultants of the Operator. The Operator shall contract for
30 and employ any drilling rigs, tools, machinery, equipment, materials, supplies,
31 and personnel reasonably necessary for the Operator to conduct the activities or
32 operations provided for in this Agreement; however, if a substitute Operator is
33 designated to drill a well, the substitute Operator may utilize a rig, which it owns
34 or has under contract, for the drilling of that well.
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' 5.2 Workmanlike Conduct

2 The Operator shall timely commence and conduct all activities or operations in a
3 good and workmanlike manner, as would a prudent operator under the same or
4 similar circumstances. THE OPERATOR SHALL NOT BE LIABLE TO THE
5 NON-OPERATING PARTIES FOR LOSSES SUSTAINED OR LIABILITIES
a INCURRED, EXCEPT AS MAY RESULT FROM OPERATOR’S GROSS
7 NEGLIGENCE OR WILLFUL MISCONDUCT. UNLESS OTHERWISE
8 PROVIDED IN THIS AGREEMENT, THE OPERATOR SHALL CONSULT WITH
9 THE NON-OPERATING PARTIES AND KEEP THEM INFORMED OF
10 IMPORTANT MATTERS. The Operator shall never be required to conduct an
“1 activity or operation under this Agreement that it, as a reasonable and prudent
12 operator in similar circumstances, believes would be unsafe or would endanger
43 persons, property, or the environment.
14 5.3 Drilling Operations
48 The Operator may have drilling operations conducted by qualified and
48 responsible independent contractors who are not an Affiliate of the Operator and
17 are employed under competitive contracts. A competitive contract is a contract,
18 or any extension thereof (a) that was entered into within five (5) years before the
30 commencement of drilling operations and (b), that contains terms, rates, and
20, provisions that, when the contract was entered into, did not exceed those
a generally prevailing on the OCS for operations involving drilling rigs of an
22 equivalent type, operating in similar environments and water depths, equipped fo
23 the Operator's standard conditions, and capable of drilling the proposed well or
24 conducting other required operations within the schedule in the well AFE. The
26 Operator may employ its own or its Affiliate’s equipment, personnel, drilling rig,
28 Workover rig, and snubbing unit in the conduct of those operations, either under
a Exhibit “C” or under a written agreement among the Participating Parties. if the
28 Operator’s or its Affiliate’s equipment, personnel, drilling rig, Workover fig, or
23 snubbing unit is employed in conducting operations under this Agreement, the
30 ' ferms, conditions, and rates for that employment shail be consistent with those
31 currently prevailing in competitive contracts for the deepwater ocs.
22 §.4 Liens and Encumbrances
33 The Operator shall endeavor to keep the Leases, Production Systems, Facilities,
4 and other equipment purchased for the Joint Account under this Agreement and
35 the Hydrocarbons free from liens and encumbrances (except those provided in
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1 Exhibit “F”) that might arise by reason of the activities or operations conducted

2 under this Agreement. If a fien is placed on the Leases, Production Systems,
3 Facilities, other equipment, or any Hydrocarbons, the Operator shall make
4 reasonable efforts to remove the lien.
8 5.5 Records
8 The Operator shall keep accurate books, accounts, and records of activities or
7 operations under this Agreement in compliance with the Accounting Procedure in
a Exhibit “C.” Unless otherwise provided in this Agreement, all records of the Joint
8 Account shall be available to a Non-Operating Party at all reasonable times
10 during. the Operator's normal office hours under Exhibit "C.” The Operator shall
“4 use good-faith efforts to ensure the settlements, billings, and reports rendered to
42 each Party under this Agreement are complete and accurate. The Operator
13 shail notify the other Parties promptly upon the discovery of any error or
14 omission pertaining to the settlements, billings, and reports rendered to each
15 Party. This provision does not affect a Party's audit rights under this Agreement.
18 This provision shall also apply to each Non-Operating Party’s books, accounts,
v7 and records kept to support its charges to a Project Team.
18 5.6 Reports to Government Agencies
18 The Operator shall make timely reports to all governmental authorities to which it
20 has a duty to make reports and shall furnish copies of the reports to the
at Participating Parties. The Operator shall provide each Non-Operating Party with
22 a copy of each notice, order, and directive received from the MMS. As soon as
23 reasonably practicable, each Party shall give written notice to the other Parties
24 before each meeting with government authorities of which it has notice and that
28 affect the Contract Area.
28 §.7 Information to Participating Parties
a7 The Operator shall, as soon as reasonably practicable and to the extent that the
28 information has then been obtained or received by the Operator, furnish each
2 Participating Party the following information about well operations:
30 (a) acopy of each application for a permit to drill and all amendments to that
at application;
32 (b) drilling and Workover reports, which shall include, but not be limited to, the
33 current depth, the corresponding lithological information, data on drilling
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1 fluid characteristics, information about drilling difficulties or delays (if any),

2 mud checks, mud jogs, and Hydrocarbon information, casing and
3 cementation tallies, and estimated cumulative Costs, to be sent by
4 facsimile or electronic transmission within eight (8) hours (exclusive of
& Saturdays, Sundays, and federal holidays) of well operations conducted in
8 the preceding twenty-four (24) hour period; provided, however, the
7 information and data set forth in this Article 5.7(b) shall be provided in “real
8 time’ if it is available to the Operator in “real time” and a Participating Party
3 has contractual rights to utilize the “real time” system that the Operator is
40 utilizing and has agreed to pay any incremental expenses associated with

44 its accessing that information and data from that “real time system”;

2 (c) acomplete report of all core data and analyses;
43 (d) copies of logs and surveys as run, including all digitally recorded data;
16 (e) copies of well fest results, bottomhole pressure surveys, Hydrocarbon
45 analyses, and other similar information, including PVT analyses;
16 (f} copies of reports made to regulatory agencies;
7 (g) forty-eight (48) hours’ advance notice of logging, coring, or testing
8 operations (or, if conditions do not permit that much advance notice, as
19 much advance notice as is reasonably possible);
20 (h) upon written request, and if sufficient quantities are available, samples of
a cutting and sidewall cores, marked as to depth, to be packaged and
22 shipped at the expense of the requesting Party;
23 G) copies of drilling prognoses;
24 () if conventional cores are taken, access to the rig to inspect and evaluate
25 said cores; and
26 (k) samples of Hydrocarbons, if sufficient quantities are available, after
2 performing routine tests.
28 Upon written request, the Operator shall use reasonable efforts to furnish to a
29 requesting Participating Party any additional available information (including a
30 complete slabbed section of all recovered cores, if requested and available),
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i acquired by the Operator for the Participating Parties, not otherwise furnished
2 under this Article (not including any derivative information independently
3 developed at Operator's sole cost and risk). The Costs of gathering and
4 furnishing the additional available information shall be charged to the
5 Participating Party that requested it.
8 5.8 Completed Well Information
7 Operator shall, as soon as reasonably practicable, furnish to each Participating
8 Party the following information pertaining to each completed well, provided,
9 however, the following information shall be provided in “real time’ if it is available
40 to the Operator in “real time” and a Participating Party has contractual rights to
4 utilize the “real time” system that the Operator is utilizing and has agreed to pay
42 any incremental expenses associated with its accessing that information from
43 that “real time system”:
44 (a) monthly report of production and injection;
48 (b) copies of routine reports made to regulatory agencies;
46 (c) report on the status of wells not producing and not abandoned;
7 (d) report on Hydrocarbons produced during Production Testing:
48 fe} bottomhole pressure data and surface pressure data; and
19 (f} composite of all logs run (for example, TDT, Carbon-Oxygen, Spinner
20 Surveys, and Casing Collar).
21 5.9 Information to Non-Participating Parties
23 The Operator shall furnish to each Non-Participating Party:
23 {a) as soon as reasonably practicable, copies of all non-confidential reports
24 made to regulatory agencies, and
28 (b) if applicable, after Complete Recoupment, the information specified in
28 Articles 5.7 (information to Participating Parties) and 5.8 (Completed Well
2? information).
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1 5.10 Health, Safety, and Environment:

2 With the goal of achieving safe and reliable activities and operations in
3 compliance with all applicable laws and regulations, including avoiding significant
4 and unintended impact on (i) the health or safety of people, (ii) property, or (iii)
5 the environment, the Operator shall, with the support and cooperation of the
6 Non-Operators, while it conducts activities or operations under this Agreement:

7 (a) design and manage activities or operations to standards intended to
a achieve sustained reliability and promote the effective management of HSE
9 risks;

40 (b) apply structured HSE management systems and procedures consistent
" with those generally applied in the petroleum industry to effectively manage
42 HSE risks and pursue sustained reliability of operations under this
43 Agreement: and

14 (c) conform with locally applicable HSE related statutory requirements that
45 may apply.

16 In fulfilling its duties and obligations hereunder, the Operator shall act in

4 accordance with the provisions of Exhibit “K.”

48 ARTICLE 6 — EXPENDITURES AND ANNUAL OPERATING
19 PLAN

20 6.1 Basis of Charges to the Parties

ai Except as otherwise provided in this Agreement, the Operator shall pay all Costs
2 of all activities and operations under this Agreement, and each Participating
23 Party shall reimburse the Operator in proportion to its Participating interest Share
24 for the Costs of these activities and operations. All charges, credits, and
28 accounting for expenditures shall be made under Exhibit “C.” Funds received by
26 the Operator under this Agreement may be commingled with the Operator's own
2 funds.

28 6.2 AFEs

29 The Operator shall not undertake an activity or operation whose Costs are Five
3¢ Hundred Thousand dollars ($500,000.00) or more, unless an AFE has been

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4 included in a proposal for an activity or operation and the proposal has been
2 approved by Vote, Election, or unanimous agreement, whichever is applicable,
3 or the Operator is exercising one of its discretionary powers under this
a Agreement. An approved proposal grants the Operator authority to commit or
3 expend funds on the approved proposal for the account of the Participating
8 Parties. For an activity or operation whose Costs are in excess of Two Hundred
7 Fifty Thousand dollars ($250,000.00), but less than Five Hundred Thousand
8 dollars ($500,000.00), the Operator shall furnish the Participating Parties with an
9 AFE for information purposes only. Notwithstanding the foregoing, in the event
40 of an emergency, or if in the sole discretion of the Operator a perceived
11 emergency exists that poses an imminent threat to life, safety, property, or the
12 environment, the Operator may immediately make those expenditures for the
43 Joint Account as, in its opinion as a reasonable and prudent operator, are
14 necessary to dea! with the emergency, but only to the extent necessary to
45 stabilize the situation and alleviate the imminent threat. The Operator shall
46 report to the Participating Parties, as promptly as possible, the nature of the
17 emergency, the action taken, and the Costs incurred.
48 6.2.1 AFE Overrun Notice
48 For informational purposes only, the Operator shall provide an AFE
20 overrun notice to all the Participating Parties if it appears (based upon
21 Operator's reasonable estimate) that the actual total Costs associated
2 with an original AFE will exceed the estimated total expenditures in that
2s original AFE by more than ten percent (10%), but will not require the
24 submission of a supplemental AFE under Article 6.2.2 (Supplemental
26 AFEs).
26 6.2.2 Supplemental AFEs
a7 Except as provided in Article 6.2.3 (Further Operations During a Force
28 Majeure), if it appears (based upon the Operator's reasonable
2a estimate) that the actual Costs associated with an original AFE or its
30 approved supplemental AFEs will exceed the relevant permitted over-
34 expenditure set forth below, the Operator shall promptly submit a
32 supplemental AFE to the Participating Parties. A supplemental AFE
33 shall include the dollar amount of the permitted over-expenditure from
34 the previously approved AFE as part of the dollar amount of that
35 supplemental AFE. Subject to Article 8.6.1 (Well Proposals,
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1 Recompletions, and Workovers), after receipt of the supplemental AFE

2 each Participating Party has the right to make an Election as to its
3 further participation in the approved activity or operation. lf a proposed
4 supplemental AFE is approved by Election, the Operator shall continue
5 to conduct the approved activity or operation associated with the
8 supplemental AFE at the sole Cost and risk of the Participating Parties
7 in the supplemental AFE. Any Participating Party making an Election
8 not to participate in an approved supplemental AFE becomes a Non-
9 Participating Party in the activity or operation associated with the
40 original AFE once the actual Costs expended on the activity or
14 operation exceed the permitted over-expenditure amount of the last
42 AFE in which the Non-Participating Party Elected to participate, without
48 regard to whether all the activities or operations (including plugging and
44 abandonment) in the original AFE have been conducted at the time of
45 , its Election not to participate. A Non-Participating Party in a
16 supplemental AFE is subject to the same Hydrocarbon Recoupment
7 premium, Underinvestment, or acreage forfeiture provision in Article 16
18 (Non-Consent Operations) that would apply to a Party Electing or
49 Voting not to participate in the originally approved activity or operation,
20 except a Hydrocarbon Recoupment premium or an Underinvestment
24 shall apply only to the Costs of the approved activity or operation not
22 bome by thé Non-Participating Party. If a supplemental AFE is not
23 approved by Election, the Operator shall conclude the activity or
24 operation as soon as practical, and each Participating Party will be
25 responsible for its Participating Interest Share of the Costs of the
28 activity or operation, including Costs in excess of the permitted over-
27 expenditure amount.
28 6.2.2.1 Permitted Over-expenditures on Well Operations
29 The permitted over-expenditure for an Exploratory Operation,
30 an Appraisal Operation, or a Development Operation is an
31 amount equal to ten percent (10%) of the estimated total
32 Costs in the original AFE for that operation or its approved
33 supplemental AFEs for wells.
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1 6.2.2.2 Permitted Over-expenditures_on the Feasibility AFE, a

2 Post-Production Project Team AFE, or an Enhanced
3 . Recovery Project Team AFE

4 The permitted over-expenditure for the Feasibility AFE, a
5 Post-Production Project Team AFE, or an Enhanced
a Recovery Project Team AFE is an amount equal to fifteen
7 percent (15%) of the estimated total Costs in the original AFE
B for that activity or its approved supplemental AFEs.

8 6.2.2.3 Permitted Over-expenditures on a Selection AFE or Define
10 AFE

1 The permitted over-expenditure for the Selection AFE or the

42 Define AFE is an amount equal to fifteen percent (15%) of the
43 estimated total Costs in the original AFE for that activity or its
14 approved supplemenial AFEs.
45 6.2.2.4 Permitted Over-expenditures on an Execution AFE
16 The permitted over-expenditure for the Execution AFE is an
v7 amount equal to fifteen percent (15%) of the estimated totai
48 Costs in the original AFE for that activity or its approved
49 supplemental AFEs. The “cumulative estimated total Costs in
20 the original AFE for that activity” is the total dollar amount of
2 the Execution AFE, its approved supplemental AFEs and all
22 approved Long Lead Development System AFEs.
23 6.2.2.5 Permitted Over-expenditures on All Other AFEs
24 The permitted over-expenditure for all other AFEs is an
25 amount equal to fifteen percent (15%) of the estimated total
26 Costs in the original AFE for that activity or operation or its
ar approved supplemental AFEs.
28 6.2.3 Further Operations During a Force Majeure
23 No Party is permitted to make an Election not to participate in further
36 activities or operations under Article 6.2.2 (Supplemental AFEs) during
31 a Force Majeure or during an emergency that poses a threat to life,
32 safety, property, or the environment, but may make an Election not to
33 participate in further activities or operations that are to be conducted
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1 after the termination of the Force Majeure or emergency.
2 Notwithstanding any contrary provision of this Agreement, if Costs

3 arising as a result of Force Majeure or emergency cause the amount of
4 an original AFE and its approved supplemental AFEs to exceed their
5 permitted over-expenditure in Article 6.2.2 (Supplemental AFEs), no
6 supplemental AFE will be required; however, once stabilization takes
7 place and Force Majeure or emergency expenditures are no longer
a being incurred, the Operator shail submit to the Participating Parties a
3 supplemental AFE for the activities or operations that are to be
16 conducted after termination of the Force Majeure or emergency in
a1 order for them to make an Election under Article 6.2.2 (Supplemental
12 AFEs) as to their participation in those activities or operations.
13 6.2.4 Long Lead Well Operation AFEs
14 In addition to the Operator's right under Article 12.6 (Long Lead
5 Development System AFEs) to submit Long Lead Development System
46 AFEs for long lead-time items prior to the submission of the Execution
7 AFE, the Operator may submit an AFE to the Parties, which will allow
1 the Operator to make advance commitments for or purchases of
‘9 equipment or services, which are commercially reasonable and
20 necessary to facilitate the early and orderly commencement of any kind
24 of well or well operation (including any associated tie-back Facilities)
22 (“Long Lead Items”) (a “Long Lead Well Operation AFE’).
23 6.2.4.1 Approval of a Long Lead Well Operation AFE
24 Each Long Lead Well Operation AFE requires the unanimous
25 agreement of ihe Parties.
26 6.2.4.2 Non-Participating Parties in the Operations Associated
a with the Long Lead Well Operation AFE
28 if a Party, who participated in a Long Lead Well Operation
2s AFE, does not participate in an approved well or well
36 operation, for which Long Lead items were procured under
at that AFE, the Operator shall reimburse that Party its
32 Participating Interest Share of the Costs of those Long Lead
33 items within thirty (30) days of the approval of that well or well
34 operation, provided, however, that Party’s share of those
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4 Costs shall be included in the calculation of any Hydrocarbon

2 recoupment to which it is subject as a result of that well or
3 well operation. The Operator shall invoice the Participating
4 Parties in that well or well operation for their proportionate
5 share of the reimbursement under this Article 6.2.4.2 in
é accordance with Exhibit “C.”

7 6.2.4.3 Disposition of Items Associated with the Long Lead Well
8 Operation AFE

g Notwithstanding the provisions of Exhibit “C,” the Participating
19 Parties in an approved well or well operation for which Long
11 Lead items were procured shall approve by Vote the
42 disposition of those Long Lead Items if they are not utilized for
13 the approved well or well operation. if the disposition is
14 approved, the disposition will be binding on all Participating
46 Parties in that well or well operation. The disbursement of the
16 proceeds realized from the disposition of those Long Lead
1? items shall take place in accordance with Exhibit “C.”

48 6.3 Security Rights
19 Addressed in Exhibit °F” of this Agreement and is incorporated into this

20 Agreement by this reference.

2 ©6©.«6.4 +~=Annual Operating Pian

22 6.4.1 Effect and Content of Annual Operating Plan
23 The Annual Operating Plan is for informational and planning purposes
24 and does not obligate any Party to any course of action or expenditures
25 or constitute a Vote, Election, or unanimous agreement to participate in
a8 any specific activity or operation. To the extent known on the date of
27 submission of the Annual Operating Pian, the Annual Operating Plan
28 shail include the following items, without limitation:
28 6.4.1.1 Capital Budget
30 (a) a list of proposed wells to be drilled including their
a anticipated order, drilling time, depths, surface and
32 bottomhole jocations, objective sands, type of well
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4 (Development, Appraisal), purpose of well (production,
injection), and estimated Costs;

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(>) capital well operations listed by well, with their

oo

4 estimated Cost;

5 (c} capital projects that have estimated gross Costs greater
8 than three million dollars ($3,000,000.00). The term
7 “capital project” includes addition of new equipment and
8 expansion or upgrades of existing equipment; and

9 (d) an estimated total amount (in aggregate) for capital
40 projects.

14 6.4.1.2 Expense Budget

42 (a) expense well operations listed by well, with their
43 estimated Cost;
44 (bo) expense projects that have estimated gross Costs
46 greater than three million dollars ($3,000,000.00). The
18 term “expense project” includes repair, replacement,
7 inspection, and maintenance of existing equipment;
18 (c) an estimated total amount (in aggregate) for expense
19 projects; and
20 (d) estimated Operations and Maintenance (O&M)
21 expenditures for the year may be shown in the
29 aggregate. O&M expenses include the ongoing,
23 everyday expenditures necessary to operate the field.
24 6.4.1.3 Operator Forecasts and Informational Items
25 ' (a) production forecasts;
26 (b} injection forecasts;
2? (c) fuel gas forecasts;
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4 (d) scheduled or planned downtime exceeding three (3)
2 days:

3 {e) data collection programs;

4 (f} Facility constraint and ullage forecast;

5 (g) geochemical or geophysical survey(s) or special test(s)
8 that might be contemplated: and

7 (h) other areas deemed of significance by the Operator.

8 6.4.2 Submission of Draft Annual Operating Plan

9 Beginning in the year in which a Development Plan is approved, and in
40 each subsequent year, the Operator shall develop and submit to the
H Non-Operating Parties, by July 4" a draft Annual Operating Plan for
42 the next calendar year. The Annual Operating Plan process will be
13 used (a) as a reporting mechanism by which the Operator will inform
4 the Non-Operating Parties of results of the previous year’s activities
45 and operations, (b) to review ongoing activities and operations, and (c)
16 for the remainder of the current year and the next succeeding calendar
7 year, to forecast and plan activities and operations and to forecast
48 anticipated Hydrocarbon production volumes, operating expenses, and
16 capital expenditures.

20 6.4.3 Review of Draft Annual Operating Plan

a The Non-Operating Parties may provide suggested changes, additions,
22 or deletions to the Annual Operating Plan to the Operator and all other
28 Parties in writing before September 1* of each year. The Operator will
24 then make changes that it deems necessary (if any) and submit the
25 final Annual Operating Plan to the Non-Operating Parties no later than
26 November 1* of each year, at which time the Annual Operating Plan is
ar deemed adopted by all Parties.

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1 ARTICLE 7 — CONFIDENTIALITY OF DATA

2 7.1 Confidentiality Obligation

3 Confidential Data acquired or obtained by a Party shail be kept confidential
4 during the term of this Agreement and for an additional period of one hundred
5 eighty (180) days after termination of this Agreement and shall not be disclosed
8 to a third party, unless it is disclosed under Article 7.1.1 (Exceptions to
7 Confidentiality) or 7.1.2 (Permitted Disclosures). Each Party shall maintain the
8 ' secrecy of the Confidential Data, using the standard of care it normally uses in
9 protecting its own confidential information and trade secrets.

10 7.1.1 Exceptions to Confidentiality

14 The confidentiality obligation shall not apply to Confidential Data that is:

12 (a) now or later becomes part of the public domain (other than as a
13 result of a wrongful act or omission by a Party);
14 (b) now or later becomes available to a Party on a non-confidential
6 basis from a source, other than a Party, that is legally permitted to
48 disclose the item of Confidential Data;
v7 {c) known to a Party on a non-confidential basis before disclosure of
48 the Confidential Data to it under this Agreement or to which that
19 Party was otherwise entitled at the time of disclosure; or
20 (d) independently developed by employees, Affiliates, contractors,
a and/or consultants of a Party who have not had access to the
2 Confidential Data.
23 7.1.2 Permitted Disclosures
2% 7.1.2.1 Operator's Permitted Disclosures
25 The Operator may disclose items of Confidential Data to
26 those third parties as may be necessary to conduct activities
oF and operations under this Agreement, if the third parties are
28 bound by written agreement to keep the Confidential Data
29 secret for the period of time set forth in the Operator's service
30 agreement with those third parties or two (2) years if a service
at agreement does not exist with those third parties.
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1 Notwithstanding the foregoing, should the Operator disclose

2° . Confidential Data to an Affiliate, then the Affiliate shall require
3 its Affiliate to handle, hold, and protect the Confidential Data
4 as if it were a Party to this Agreement.
5 7.1.2.2 All Parties’ Permitted Disclosures
6 Subject to the restriction that a third party shall be bound by
7 written agreement not to use or disclose the Confidential Data
8 for a period of two (2) years, except for the express purpose
9 for which the disclosure is to be made, all Parties may
40 disclose, in whole or in part, the Confidential Data to the
11 following receiving parties, who may remove the Confidential
42 Data from the custody and premises of the Party making such
43 disclosure:
14 (a) _ to its Affiliate;
15 (b) to a bona fide, financially responsible, prospective
46 , assignee of any portion of the Party’s Working Interest
7 (including but not limited to an entity with whom a Party
48 or its Affiliates is conducting bona fide negotiations
19 directed toward a merger, consolidation or a sale of a
20 Party’s or an Affiliate’s shares or substantially all of its
21 assets on the OCS);
22 (c) to potential contractors, professional consultants, or
23 outside legal counsel engaged by or on behalf of the
2 Party and acting in a capacity where that disclosure is
25 essential to the contractor's, consultant's, or outside
26 legal counsel’s work;
27 (d) to a bank or other financial institution to the extent
28 appropriate to a Party arranging financing for its
29 obligations under this Agreement;
30 (e) to the extent required by a Lease, or by law, order,
31 decree, regulation, or rule (including, without limitation,
32 those of any regulatory agency, securities commission,
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1 stock exchange, judicial, or administrative proceeding).
2 if a Party is required to disclose Confidential Data under
3 this Article 7.1.2.2(e), the Party shall promptly provide all
4 other Parties to this Agreement written notice of those
5 proceedings so that the non-disclosing Parties may seek
6 a protective order or other remedy. A disclosing Party
7 shall furnish only such Confidential Data as is legally
B required and will use its reasonable efforts to obtain
9 confidential treatment for any Confidential Data
10 disclosed;
4 (f} to an entity allocating or desiring to transport, process,
42 or purchase Hydrocarbons produced under this
13 Agreement for the purpose of making Hydrocarbon
44 reserve estimates or other technical evaluations or
48 allocating Hydrocarbon products to source points;
16 (g) to third parties for benchmarking studies and industry
a7 performance reviews; provided that the Confidential
18 Data disclosed does not include competitive information
49 or data and the studies blind the identities of the
20 participants and the origin of the Confidential Data; and
21 (h) to a contractor for the purpose of offsite storage of
22 Confidential Data.
23 7.1.3 Limited Releases to Offshore Scout Association
25 The Operator may disclose Confidential Data to the Offshore Oil
2B Scouts Association at their weekly meetings. The Confidential Data
26 that may be disclosed is limited to information concerning well
a7 jocations, well operations, and well completions to the extent
28 reasonable and customary in industry practice or required under the by-
29 iaws of the Offshore Oi] Scouts Association.
30 7.1.4 Continuing Confidentiality Obligation
xn A Party who ceases to own a Working Interest remains bound by the
32 confidentiality and use obligations of this Agreement as to Confidential
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‘ Data obtained through this Agreement under Article 7.1 (Confidentiality

2 Obligation).

3 7.2. Qwnership of Confidential Data

4 Except as otherwise provided for in this Article 7, all Confidential Data produced
g as a result of an activity or operation shall be the property of all Participating
8 Parties in that activity or operation. A Non-Participating Party has no rights in or
7 access to Confidential Data produced or derived from a Non-Consent Operation
8 unless and until Complete Recoupment has taken place.

‘ 7.2.1 Trades of Confidential Data

40 Any Participating Party may propose the exchange or trade of any
4 Confidential Data or other similar data and information owned by a third
42 party. Upon approval of said exchange or trade by Vote of the
18 Participating Parties, that approval shall bind all Participating Parties,
14 and the Operator shail utilize the Well Data Trade and Confidentiality
45 Agreement in Exhibit “P in order to consummate that exchange or trade
48 with the third party. The Operator shall promptly provide all
v Participating Parties copies of the third party data obtained along with
18 copies of any agreement relating to that exchange or trade.

19 7.2.2 Ownership of Non-Consent Data

20 After Complete Recoupment has taken place and a Non-Participating
2 Party has become a Participating Party in an activity or operation, that
22 Non-Participating Party shall become an owner of the Confidential Data
23 and information resulting from that activity or operation. Within fifteen
24 (15) days after Complete Recoupment, the Operator shall furnish that
25 Confidential Data and information to the former Non-Participating Party.

26 7.3 Access to the Lease and Rig

27 Except as provided in Article 6.3(b) (Default) in Exhibit “F,” each Participating
28 Party may attend meetings between the Operator and any contractors
29 constructing the Production System or Facilities specified in the Execution AFE
30 as well as access to the construction sites. Except as otherwise provided in
a Article 6.3(b) (Default) in Exhibit “F,” each Participating Party shall have access
32 to all drilling rigs, Production Systems, and Facilities to observe and inspect
33 operations and wells in which it participates (and the pertinent records and other
34 data). Access by the Participating Party to a drilling rig, Production System, or
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1 Facility serving a Contract Area shall be scheduled through the Operator at least

2 forty-eight (48) hours in advance (or, if conditions do not permit that much
3 advance scheduling, with as much advance scheduling as is reasonably
4 possible). Each Party's access will be at reasonable times and may not
5 unreasonably interfere with operations at the site.

6 7.4 Development of Proprietary Information and/or Technology

7 The ownership, use, treatment, and disclosure of proprietary information or
8 technology, including, but not limited to, drilling technology, production
8 technology, production systems and facilities, and their transportation and
40 installation, pipelines, flowlines, and offshore oil and gas transportation that are

"4 charged to the Joint Account shall be handled under Exhibit “G.”

12 ARTICLE 8 —- APPROVALS AND NOTICES
8 8.1 Classes of Matters
14 Action will be taken on a proposed activity or operation only after the procedures
48 and approval requirements in this Agreement have been satisfied. There are
16 four general classes of activities or operations under this Agreement: (a) those
47 requiring approval by Vote, (b) those requiring approval by Election, (c) those
18 requiring approval by unanimous agreement, and (d) those within the discretion
19 of the Operator.
20 8.1.1 Voting and Electing Interest
24 If all Parties are entitled to make an Election or Vote, each Party has an
22 Electing interest or a Voting interest equal to its Working Interest or its
28 Participating Interest Share, as applicable. If a Party does not have a
24 right to make an Election or Vote, each of the other Parties has an
28 Electing interest or a Voting interest, as applicable, equal to its Working
26 interest or its Participating Interest Share, as applicable, divided by the
a total Working Interest or Participating Interest, as applicable, of those
28 Parties who have a right fo make an Election or Vote.
20 8.2 Voting and Election Procedures
30 The Parties shall Vote or make an Election on proposals requiring a Vote or
31 Election in the order in which those proposals are submitted, except as specified
32 in Articles 10.2 (Exploratory Operations at Objective Depth), 11.2 (Appraisal
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1 Operations at Objective Depth), and 13.2 (Development Operations at Objective

2 Depth). Subject to Article 6.2 (AFEs), after receipt of a notice properly given for

3 an activity or operation requiring a Vote or Election, the Parties entitled to make
4 that Vote or Election (a) may Vote or make an Election in accordance with this

8 Article 8.2 (Voting and Election Procedures) and Ariicle 8.7 (Giving and
6 Receiving Notices and Responses) or (b) shall be deemed to have Voted or
7 made an Election as provided in Article 8.6.5 (Failure to Vote or Make an
8 Election).

9 A Vote or Election to participate in a proposal is evidenced by a Party making a
10 written affirmative response to the proposal or by a Party’s execution of the AFE
“4 associated with the proposal. Except as otherwise provided in this Agreement, a
42 Vote or Election not to participate in a proposal is evidenced by a Party's written
43 negative response to the proposal, a Party’s failure to make a timely written
14 affirmative response to the proposal or to timely execute the AFE associated with
18 the proposal, or a Party’s failure to timely make a subsequent Vote or Election
16 under Article 8.3 (Second Opportunity to Participate).

17 8.2.1 Approval by Vote
1B Approval by Vote shall be decided by a Vote of the Parties as follows:

49 (a) when one Party or two Parties are entitled to Vote, approval by
20 Vote shall require an affirmative Vote of one Gr more Parties with
a a Voting interest of fifty-one percent (61%) or more, or if two
22 Parties entitled to Vote have the same Voting interest, the
23 affirmative Vote of all Parties entitled to Vote; and
24 (b) when more than two Parties are entitled to Vote, approval by Vote
28 shall require an affirmative Vote of two (2) or more Parties entitled
2 to Vote with a combined Voting interest of fifty percent (60%) or
37 more.
28 8.2.2 Approval by Election ©
20 Approval by Election shall be decided by an affirmative Election by one
30 or more Parties, entitled to make an Election, with a combined Electing
n interest of ten percent (10%) or more.
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4 8.3 Second Opportunity to Participate
2 Unless otherwise provided to the contrary in this Agreement, if an activity or
3 operation is approved by Vote or Election but is not approved by all of the
4 Parties, a Party who Voted or Elected not to participate in the approved activity
5 er operation may make a subsequent Vote or Election to participate in the
8 approved activity or operation within forty-eight (48) hours (exclusive of
7 Saturdays, Sundays, and federal holidays) of its receipt of the original Voting or
8 Election results from the Operator. If a Party does not exercise its right to make
8 a subsequent Vote or Election to participate, it shall become a Non-Participating
40 Party in the approved activity or operation. If (a) all the Parties entitled to do so
“4 make an original Vote or Election or a subsequent Vote or Election to participate
42 in a proposed activity or operation or (b) an approval by Vote is binding on all
13 Parties, then the Operator shall commence the activity or operation in
14 accordance with the applicable timely operations provisions of this Agreement.
45 8.4 Participation by Fewer Than All Parties
16 if, after the period in which a Party may make a subsequent Vote or Election to
7 participate, there is at least one Non-Participating Party in the approved activity
8 or operation, each Party who made an original or a subsequent Vote or Election
19 to participate in the approved activity or operation shail, within forty-eight (48)
20 hours (exclusive of Saturdays, Sundays, and federal holidays) of its receipt of the
24 subsequent Voting or Election results,
22 (a) limit its participation in the approved activity or operation to its Working
23 Interest share, ‘or
24 (b) agree to bear its Participating Interest Share of the approved activity or
25 operation
26 by written correspondence to the Operator. Failure to submit that written
a correspondence shall be deemed a written correspondence under (a). If a Party,
28 who made an original or a subsequent Vote or Election to participate in the
2s approved activity or operation, submits or is deemed to have submitted a written
20 correspondence under (a) and the other Parties who made an original or a
31 subsequent Vote or Election to participate in the approved activity or operation
32 do not agree to bear all of the remaining Costs of the approved activity or
33 operation within thirty (30) days after the written correspondence period, the
“ proposal of the approved activity or operation and all Votes and Elections in
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1 regard to the approved activity or operation shall be deemed withdrawn. Once
2 the Parties, who made an original or a subsequent Vote or Election to participate
3 in an approved activity or operation in which there is a Non-Participating Party,
4 agree to bear all of the Costs of the approved activity or operation, the Operator
6 shall commence the activity or operation at the sole Cost and risk of the
8 Participating Parties in accordance with the applicable timely operations
? provisions of this Agreement. Notwithstanding the foregoing, the election periods
@ in Articles 10.2 (Exploratory Operations at Objective Depth}, 11.2 (Appraisal
9 Operations at Objective Depth), and 13.2 (Development Operations at Objective
16 Depth) shall govern in the event of a conflict.
4 8.5 Approval by Unanimous Agreement
42 After receipt of a notice for a proposal that requires unanimous agreement, each
43 Party entitled to approve (or disapprove) that activity or operation may indicate its
4 approval or disapproval by providing a written statement in a response. Unless
45 otherwise specifically provided, failure of a Party to make such a response is
46 deemed its disapproval.
7 8.6 Response Time for Notices
48 After receipt of an AFE or notice under this Article 8, the Parties may (a) submit
19 their Vote or (b) make an Election or (c) submit a written statement, whichever is
20 applicable. [If requested in writing by a Party entitled to (a) submit their Vote or
21 (b) make an Election or (c} submit a written statement on an AFE or notice, the
22 Operator shall give prompt notice of the results of those Votes, Elections or
23 written statements to each Party entitled to (a) submit their Vote or (6) make an
24 Election or (c) submit a written statement, as applicable. Except as otherwise
25 provided in this Agreement, the response times for each type of proposal shall
26 be as follows:
a7 8.6.1 Well Proposals, Recompletions, and Workovers
28 When a well, Recompletion, or Workover is proposed, each Party
29 entitled to Vote or make an Election or submit a written statement,
30 whichever is applicable, has thirty (30) days after receipt of the
a proposal (inclusive of Saturdays, Sundays, and federal holidays) to
32 respond to it. If a drilling rig is on location and day rate rig charges are
33 being charged to the Joint Account and if a Party, who is entitled to do
34 so, has proposed the immediate commencement of a substitute well or
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1 a supplemental AFE to a well, or a Recompletion or Workover in or
2 through the same well bore in which the previous operation was
3 conducted or has submitted a supplemental AFE to a well, and if the rig
4 that is on jocation is to conduct the operation or is to be utilized under
5 the supplemental AFE, a Party entitled to Vote or make an Election or
8 submit a written statement has forty-eight (48) hours after receipt of the
? proposal (inclusive of Saturdays, Sundays, and federal holidays) to
8 respond to it. The response times for subsequent operations at
8 Objective Depth are provided in Article 10.2 (Exploratory Operations at
40 Objective Depth}, Article 11.2 (Appraisal Operations at Objective
“1 Depth), and Article 13.2 (Development Operations at Objective Depth).
12 8.6.2 Execution AFE
43 Each Party entitled to make an Election on an Execution AFE has one
14 hundred twenty (120) days after the date of its receipt of the Execution
48 AFE to make that Election.
18 8.6.3 Other AFE Related Operations
7 Except as otherwise provided in Articles 8.6.1 (Wel! Proposals,
18 Recompletions, and Workovers), 8.6.2 (Execution AFE), and 12.7.7
19 (Approval of Major Modifications), the response time to a proposed
20 AFE, activity, or operation will depend upon the gross AFE amount.
at Response times will be as follows:
22 (a) AFE of five hundred thousand $500,000.00 or more but less than
28 twenty million dollars $20,000,000.00; response will be made
24 within thirty (30) days after receipt of said proposal;
25 (b) AFE of twenty million dollars $20,000,000.00 or more but less
28 than fifty million dollars $50,000,000.00; response will be made
a7 within sixty (60) days after receipt of said proposal; and
28 (c) AFE of fifty million dollars $50,000,000.00 or more; response will
29 be made within ninety (90) days after receipt of said proposal.
30 8.6.4 Other Proposals
a For all other proposals requiring notice, and all supplemental AFEs
32 other than those subject to Article 8.6.1 (Well Proposals,
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4 Recompletions, and Workovers), each Party has thirty (30) days after

2 receipt of the proposal to respond to it.
a 8.6.5 Failure to Vote or Make an Election
j Unless otherwise specifically provided, failure of a Party to Vote or
5 make an Election, whichever is applicable, within the period required by
6 this Agreement is deemed to be a Vote or Election not to participate.
7 8.6.6 Suspensions of Operations and Suspensions of Production
a Notwithstanding any contrary provision in Article 8.6 (Response Time
g for Notices), if the MMS grants a Suspension of Production (“SOP”), a
10 Suspension of Operations (“SOO”), or similar regulatory grant for all or
4 part of the Contract Area, and if the SOP, SOO, or grant requires the
12 commencement of an activity or operation before the expiration of the
43 period for Voting, making an Election, or submitting a written statement,
14 as provided in Article 8.5 (Approval by Unanimous Agreement) for that
18 activity or operation, the Parties shall cast their Votes, make their
48 Elections, or submit their written statement on the activity or operation
17 at least ten (10) days (inclusive of Saturdays, Sundays and federal
18 holidays) before the commencement date required in the SOO, SOP,
19 or grant.
20 8.6.7 Standby Charges
2 The Participating Parties in a well or well operation conducted
22 immediately prior to the delivery of (a) a proposal for a substitute well or
23 a subsequent operation in a well or (b) a supplemental AFE are
24 responsible for charges associated with the well or well operation that
25 accrue before that delivery. All charges, which accrue after that
28 delivery, are the responsibility of the Participating Parties in the
ay substitute well, subsequent operation, or supplemental AFE. If (a) the
28 . proposal of a substitute well or subsequent operation or (b) the
29 supplemental AFE is not approved, the Participating Parties in the well

30 or well operation conducted immediately prior to the delivery of that
1 proposal or supplemental AFE are responsible for the charges that
32 accrue after that delivery.

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1 8.7 Giving and Receiving Netices and Responses

2 Except as otherwise provided in this Agreement, ail notices and responses
4 required or permitted by this Agreement shall be in writing and shall be delivered
4 in person or by mail, courier service, or facsimile transmission, with postage and
3 charges prepaid, addressed to the Parties at the addresses in Exhibit “A.” A
é notice is deemed delivered only when received by the Party to whom it was
7 directed, and the period for a Party to deliver a response begins on the date the
8 notice is received. “Receipt” of a written notice means actual delivery of the
9 notice to the Party’s address or transmission to the facsimile number provided in
40 Exhibit “A.” A response is deemed delivered when it is deposited in the United
14 States mail, delivered to a courier, transmitted by facsimile transmission, or is
42 personally delivered to a Party.
43 However, when a drilling rig is on location and day rate rig charges are being
44 charged to the Joint Account, notices or responses pertaining to operations
48 utilizing a drilling rig shall be given orally or by telephone. “Receipt” of an oral or
46 telephone notice means actual and immediate communication to the Party to be
7 notified. All telephone or oral notices or responses permitted by this Agreement
48 shail be confirmed immediately thereafter by facsimile transmission. A message
49 left on an answering machine or with an answering service or other third person
20 is not adequate telephone or oral notice or response. If a Party is unavailable to
2 receive a notice or response required to be given orally or by telephone, the
ze notice or response may be delivered by facsimile transmission.
23 8.8 Content of Notices
2 A notice requiring a response shall indicate the appropriate response time
26 specified in Article 8.6 (Response Time for Notices). A well proposal notice shall
28 include the type of well being proposed, (for example, Exploratory Well,
27 Appraisal Well, or Development Well), a Well Plan, and an AFE that includes the
28 Costs of permanently plugging and abandoning the well. If a proposed activity or
29 operation is subject to Article 16.4 (Non-Consent Operations to Maintain
30 Contract Area), the notice shall specify that the proposal is a Contract Area
31 maintenance activity or operation.
32 8.9 Designation of Representatives
33 The names, addresses, and telephone and facsimile numbers of a designated
34 representative and alternate for each Party to whom notices or responses shall
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1 be directed, are provided in Exhibit “A.” The designated representative and the
2 alternate may be changed by written notice to the other Parties.

3 8.10 Meetings

4 Any Party may call a meeting. Except in an emergency, no meeting shall be
5 called on less than five (5) days’ advance notice (inclusive of Saturdays,
8 Sundays, and federal holidays), and the notice shall include a proposed agenda.
7 The Operator shall be chairman of each meeting and take minutes of each
8 meeting. Only matters included in the agenda may be considered at a meeting
9 unless unanimously agreed to by the Parties.
40 8.11. Obligations of Well Participation
11 Subject to Article 6.2 (AFEs), a Participating Party in an Exploratory Well, an
12 Appraisal Well, or a Development Well is responsible for its Participating Interest
13 Share of all necessary Costs in the original well AFE, which shall include only the
44 Cost to drill, test (except Production Testing), and log the well to its Objective
16 Depth, or shallower depth if applicable, and to plug and abandon the well.
16 ARTICLE 9 —- NEWS RELEASES
17 9.1 Proposal of News Releases
48 Any Party may propose for issuance a News Release about the activities or
19 operations covered by this Agreement by submitting the text of the News
20 Release to the Parties. A News Release proposal requires the unanimous
21 agreement of the Parties. The Parties shall respond to a News Release
22 proposal within seventy-two (72) hours of their receipt of it by agreeing or
23 disagreeing with the text of the proposed News Release, or by submitting
24 alternative text for the News Release. If a Party submits. alternative text for the
25 News Release, the Parties shall have forty-eight (48) hours to agree or disagree
26 with any of the proposed texts of the News Release. If a Party fails to respond,
27 the Party shall be deemed to have not approved any of the proposed News
28 Releases.
29 9.1.1 Operator’s News Release
30 if the Parties do not unanimously agree to any of the texts of a
31 proposed News Release within the time period set forth in Article 9.1
32 (Proposal of News Releases), the Operator has the exclusive right for
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4 forty-eight (48) hours, following the last response under Article 9.1

2 (Proposal of News Releases), to submit a News Release on the subject
3 matter of the original proposal to the Parties in accordance with this
4 Article 9.1.1. if the News Release pertains to a well or an operation in
8 a well, the Operator must limit the content of the News Release fo the
8 following information: —

? (a) the name of the well or operation and the water depth;

3 (b) the location of the well by protraction area, block, and adjacent
9 state;

10 (c) the lease bonus paid and the lease acquisition date;

" (d) the result of a Production Test, if conducted;

42 (e) the participants in, and their Working interest in, the well or
13 operation; and
44 (f} the surrounding acreage controlled by the participants.
18 if the News Release does not pertain to a well or an operation in a well,
6 it may only contain information that is not Confidential Data or
17 Confidential information (as defined in Exhibit “G") and does not
ia substantially undermine the Parties’ competitive advantage in the area
49 surrounding, or trend or play pertaining to, the Contract Area. The
20 Operator shall transmit the News Release to the Non-Operating Parties
21 not less than seventy-two (72) hours (exclusive of Saturdays, Sundays,
2 and federal holidays) before the time at which the Operator wishes to
23 issue it. Any Party may have its name excluded from the News
24 Release by notifying the Operator of that desire within forty-eight (48)
25 hours of that Party’s receipt of the News Release.
26 9.1.2 Non-Operating Party’s News Release
27 if the Operator does issue the News Release within forty-eight (48)
28 hours of the termination of the seventy-two (72) hour period referred to
26 in Article 9.1.1 (Operator's News Release), any Participating Party may
30 prepare and issue its own News Release, using the content guidelines
3 and procedures provided in Article 9.1.1 (Operator's News Release),
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1 simultaneously with or following the Operator's News Release. If the
2 Operator does not issue the News Release within forty-eight (48) hours
3 of the termination of the seventy-two (72) hour period referred to in
4 Article 9.1.1 (Operator's News Release), any Participating Party may
5 prepare and issue its own News Release, using the content guidelines
8 and procedures provided in Article 9.1.1 (Operators News Release).
7 9.2 Emergency New Releases
3 In an emergency involving extensive property damage, loss of human life, or
9 other clear emergency and where there is insufficient time to obtain approval
40 from the other Parties, the Operator may furnish factual information necessary to
41 satisfy legitimate public interest or governmental authorities having jurisdiction.
12 The Operator shail immediately notify the Parties of the information furnished in
13 response to the emergency.
44 9.3 Mandatory News Releases
16 Each Party has the right to issue a News Release which contains information not
16 otherwise permitted under Article 9 (News Releases) in order to comply with the
7 laws, orders, rules, or regulations of the country in which its parent company is
18 incorporated; provided, however, prior to issuing that News Release, that Party
49 must submit, not less than seventy-two (72) hours (exclusive of Saturdays,
20 Sundays, and federal holidays) before issuance of the News Release, the text of
21 that News Release to the other Parties and a statement from a licensed attorney
22 in the country, with whose laws, orders, rules, or regulations the Party is
23 complying, verifying that the News Release (including its content) is required
24 under those laws, orders, rules, or regulations.
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1 ARTICLE 10 - EXPLORATORY OPERATIONS

2 10.1 Proposal of Exploratory Weils
3 Any Party may propose drilling an Exploratory Well within the Contract Area by
4 giving notice of the proposal (along with the associated AFE and Well Plan) to
5 the other Parties. Each proposed Exploratory Well requires approval by Election.
5 Each Non-Participating Party in an Exploratory Well will be subject to either an
? . acreage forfeiture or Hydrocarbon Recoupment as provided in Article 16 (Non-
8 Consent Operations).
9 10.1.1 Revision of Well Pian
40 A revision to an approved well proposal, Well Plan, or AFE prior to the
1 commencement of actua! drilling operations on an Exploratory Well
42 requires the unanimous agreement of the Participating Parties. In the
13 absence of unanimous agreement on a proposed revision to the Well
14 Plan or AFE, the Well Plan and AFE will stand as approved. Only a
46 major revision to an approved Well Plan or AFE will give a Non-
6 Participating Party an additional opportunity to participate in an
17 Exploratory Well prior to the commencement of actual drilling
48 operations. A revision is deemed a major revision if the Objective
19 Depth of an Exploratory Well is changed, or the proposed bottom hole
20 location is moved more than 1000’, or both, in which case each Non-
at Participating Party in the well may, for a period of twenty (20) days after
22 receipt of the revised Well Plan and revised AFE, notify the Operator in
23 writing that it will participate in the revised Exploratory Well. For the
24 avoidance of doubt, any revisions to the Well Plan subsequent to the
25 commencement of actual drilling operations shall not give any Non-
26 Participating Party the opportunity to participate in the Exploratory
ar Operation.
28 A Non-Participating Party timely submitting its participation notification
20 under this Agreement due to a major revision in a Well Plan (a) shall
30 become an Underinvested Party for Costs incurred on the modified
31 Exploratory Well prior to the approved major modification and (b) with
32 regard to that well, shall no fonger be subject to Article 16 (Non-
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1 Consent Cperations). The Non-Participating Party's Underinvestment
2 obligation, resulting from its participation decision, shall be calculated
3 as follows: actual Costs expended on that Exploratory Well multiplied
4 by the Non-Participating Party's percentage Participating interest Share
6 in the modified Exploratory Well. If the Non-Participating Party forfeited
8 and assigned its right, title, and interest in the Contract Area by not
7 participating in that Exploratory Well, then within thirty (30) days after
a the Operator's receipt of the Non-Participating Party's participation
Q notification under this Agreement, the Participating Parties in the
40 original Exploratory Weill proposal shall assign to the Non-Participating
tt Party one hundred percent (100%) of the Non-Participating Party's
12 former Working Interest in the Contract Area.
43 10.1.2 Automatic Revision of the Well Plan
a4 During the drilling of an Exploratory Well, the Well Plan may be revised
45 by the Operator as is necessary for it to employ prudent oilficid
8 practices or to conduct safe operations, and those revisions will not
v7 require the approval of the Participating Parties as long as the
48 Operator's revisions carry out the scope and intent of the approved
49 Well Plan and AFE, except as provided in Article 6.2.2 (Supplemental
20 AFEs).
a 10.1.3 Timely Operations
22 Except as provided below, drilling operations on an Exploratory Well
23 shall be commenced within one hundred eighty (180) days after the
24 end of the period for the approval of the Exploratory Well. If the
25 Operator, except for an occurrence of Force Majeure, does not
26 commence drilling operations on the Exploratory Well within that one
ar hundred eighty (180) day period, the approved Exploratory Well
28 proposal shall be deemed withdrawn, with the effect as if the
29 Exploratory Well had never been proposed and approved.
30 if a Party submits an identical Exploratory Well proposal (except for any
a necessary modifications resulting from a change in the drilling rig to be
$2 utilized by the Operator) within ninety (90) days after the deemed
33 withdrawal of the approved original Exploratory Well proposal and if
3a that identical Exploratory Well proposal is approved and if the Operator
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1 is a Participating Party in the identical Exploratory Well proposal, the

2 Operator shall commence drilling operations on that weil within ninety
3 (90) days after the end of the response period for that proposal. If the
4 Operator, except for an occurrence of Force Majeure (excluding the
5 inability to secure materials or a drilling rig), fails to commence drilling
6 operations on the identical Exploratory Well within that ninety (90) day
7 period, the approved identical Exploratory Well proposal shall be
8 deemed withdrawn, with the effect as if the identical Exploratory Well
9 proposal had never been proposed and approved, and the Non-
10 Operating Parties may then select a substitute Operator under Article
44 4.2.2 (Substitute Operator if Operator Fails fo Commence Dnilling
12 Operations). Within sixty (60) days of the selection of the substitute
13 Operator, the substitute Operator shall propose the drilling of an
44 identical Exploratory Well (except for any necessary modifications
48 resulting from a change in the drilling rig to be utilized by the substitute
8 Operator), and it shail commence drilling operations on that well within
7 one hundred eighty (180) days after the end of the period for the
18 approval of that Weil.

49 if a Party submits an identical Exploratory Well proposal (except for any
20 necessary modifications resulting from a change in the drilling rig to be
21 utilized by the Operator) within ninety (90) days after the deemed
22 withdrawal of the approved original Exploratory Weill proposal and if
23 that identical Exploratory Well proposal is approved and if the Operator
24 is not a Participating Party in the identical Exploratory Well proposal,
25 the approved identical Exploratory Well proposal shall be deemed
26 withdrawn, with the effect as if the identical Exploratory Well proposal
27 had never been proposed and approved, and the Non-Operating
28 Parties may then select a substitute Operator under Article 4.2.1
29 (Substitute Operator if Operator is a Non-Participating Party). Within
20 sixty (60) days of the selection of the substitute Operator, the substitute
a1 Operator shall propose the drilling of an identical Exploratory Well
32 (except for any necessary modifications resulting from a change in the
aa drilling rig to be utilized by the substitute Operator), and it shall
a4 commence drifling operations on that well within ninety (90) days after
36 the end of the period for the approval of that Well.

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‘ if an approved original or identical Exploratory Well proposal is deemed

2 withdrawn due to a failure to timely commence drilling operations on
3 that well, all Costs incurred, which are attributable to the preparation
4 for, or in furtherance of, that Exploratory Well, will be chargeable to the
5 Participating Parties. Drilling operations for an Exploratory Well under
8 this Article 10.1.3 shall be deerned to have commenced on the date the
7 rig arrives on location or, if the rig is already on location, the date when
8 actual drilling operations for the approved Exploratory Well are
8 undertaken.
10 10.1.4 AFE Overruns and Substitute Well
ul Once an Exploratory Well is commenced, the Operator shall drill the
12 well with due diligence to its Objective Depth, subject to:
43 (a) all supplemental AFEs required under Article 6.2.2 (Supplemental
14 AFEs },
48 {b) the Operator encountering mechanical difficuities, uncontrolled
16 influx of subsurface water, loss of well control, abnorma! well or
47 formation pressures, pressured or heaving shale, granite or other
18 practicably impenetrable substances, or other similar conditions in
9 the well bore or damage to the well bore that, in the Operator's
20 sole opinion, render further well operations impractical, and
21 (c) the unanimous agreement of the Participating Parties to cease
22 drilling an Exploratory Well before reaching Objective Depth.
23 If an Exploratory Well is abandoned due to the conditions described
24 under Article 10.1.4(b}, then any Participating Party in the abandoned
26 Exploratory Well may, within thirty (30) days after abandonment of that
28 Exploratory Well, propose the drilling of a substitute well for the
27 abandoned Exploratory Well by giving notice of the proposal (along
28 with the associated AFE and Weil Plan) to all other Participating Parties
29 in the abandoned Exploratory Well, and that proposal requires approval
30 by Election of the Participating Parties in the abandoned Exploratory
31 Well. Notwithstanding any contrary provision of Article 10.4 (Conclusion
32 of Exploratory Operations), the substitute well shall be an Exploratory
33 Well. The Well Plan for the substitute Exploratory Well shall be
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1 substantially the same as the Well Plan for the abandoned Exploratory
2 Well and shail also take into account the conditions that rendered
3 further drilling of the abandoned Exploratory Well impractical.

4 Each Non-Participating Party in a substitute Exploratory Well or an
5 approved supplemental AFE for an Exploratory Weill will be subject to
8 either an acreage forfeiture or Hydrocarbon Recoupment, as provided
? in Article 16 (Non-Consent Operations).

8 10.2 Exploratory Operations at Objective Depth

9 After an Exploratory Well has been drilled to its Objective Depth and all
40 operations in the controlling AFE have been conducted or terminated (except
" temporary abandonment and permanent plugging and abandonment) and all
12 logs and test results have been distributed to the Participating Parties, the
13 Operator shall promptly notify the Parties entitled to make an Election on an
14 operation proposed under this Article 10.2 of its proposal to conduct subsequent
46 operations in the well. Except for a proposal to permanently plug and abandon
6 the well, the Operators proposal shall include an associated AFE and a plan for

17 the operation. The Parties entitled to make that Election are:

18 (a) the Participating Parties, and
19 (b) the Non-Participating Parties in the original well proposal if (1) the
20 subsequent Exploratory Operation proposal is made at the well’s Objective
a Depth and is for a Sidetrack or Deepening and (2) Article 16.2 (Acreage
22 Forfeiture Provisions) was not applicable to the drilling of that Exploratory
2a Well.
24 The Operator's proposal shall be for one of the following operations:
25 {a) conduct Additional Testing, Sidewall Coring, or Logging of the formations
26 encountered prior te setting production casing;
a {b) Sidetrack the well bore to conventionally core the formations encountered;
28 {c) Deepen the well to a new Objective Depth;
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1 (d) Sidetrack the well (however, if in the Operators sole opinion a casing string

z is required to Deepen the well, then option “d” shall have priority over
3 Deepening the well to a new Objective Depth);

4 {e) conduct Production Testing;

5 (f) conduct other operations on the weil not listed;

8 (g) temporarily abandon the well; or

7 (h) permanently plug and abandon the well.

a if an Exploratory Well is temporarily abandoned under (g), then any additional
9 operation in that well shall be proposed as a new well operation. A proposal to
19 complete an Exploratory Well that has been temporarily abandoned under

4 clause (g) shall be deemed a Development Operation proposal.

42. if the Operator fails to submit its proposal to the Participating Parties within
13 twenty-four (24) hours (inclusive of Saturdays, Sundays, and federal holidays)
14 after receipt of all logs and test results from an Exploratory Well by the
46 Participating Parties, then any Participating Party may make a proposal. in that
18 event, the procedures in this Article 10.2 shall apply to that proposal, and any
"7 reference in this Article 10.2 to the “Operator's proposal” shall include a proposal
18 made by a Participating Party.

19 10.2.1. Response to Operator's Proposal

20 A Participating Party. may, within twenty-four (24) hours (inclusive of
21 Saturdays, Sundays, and federal holidays) of its receipt of the
29 Operator's proposal, make a separate proposal (along with an
23 associated AFE and a plan for the operation, except if the proposal is
24 to permanently plug and abandon the well) for one of the operations in
26 Article 10.2 (Exploratory Operations at Objective Depth), and the
28 Operator, immediately after the expiration of the twenty-four (24) hour
27 period for making a separate proposal shall provide the Parties entitled
28 to make an Election with a copy of all separate proposais so made. If
29 no separate proposal is made, the Parties entitled to make an Election
30 shall, within forty-eight (48) hours {inclusive of Saturdays, Sundays,
31 and federal holidays) of their receipt of the Operator's proposal, make
32 an Election on the Operator's proposal (except for a proposal to

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1 permanently plug and abandon). If a separate proposal is made, the

2 Parties entitled to make an Election shall make an Election under the
a procedure in Article 10.2.2 (Response to Highest Priority Proposal). lf
4 a proposal to permanently plug and abandon the well is the only
5 operation proposed, then the approval and Cost allocation provisions of
a Article 10.3 (Permanent Plugging and Abandonment and Cost
7 Allocation) shall apply to that proposal. if Article 8.3 (Second
B Opportunity to Participate) or Article 8.4 (Participation by Fewer Than
9 All Parties), or both, apply to any Election in Article 10.2 (Exploratory
10 Operations at Objective Depth), then the response period in those
4 articles shall be twenty-four (24) hours (inclusive of Saturdays,
12 Sundays, and federal holidays) instead of forty-eight (48) hours
13 (exclusive of Saturdays, Sundays, and federal holidays).
‘4 Notwithstanding any contrary provision of this Agreement, if one or
48 more operations are proposed before the distribution of information
18 resulting from the previously approved operation, then the response
7 periods set forth above shall not commence until the Parties entitled to
18 make an Election have received the information from the previously
2 approved operation.
20 10.2.2 Response to Highest Priority Proposal
2 if a separate proposal is made, each Party entitled to make an Election
22 shall, within twenty-four (24) hours (inclusive of Saturdays, Sundays,
2 and federal holidays) after its receipt from the Operator of a complete
24 copy of all separate proposals, make its Election on the highest priority
25 proposal (except a proposal to permanently plug and abandon the
26 well). Article 10.2(a) has the highest priority, and Article 10.2(h) has
2 the lowest priority. If different depths or locations are proposed for the
28 same type of operation, priority shall be given to the deepest depth. If

28 the proposal with the highest priority is approved, then the lower priority
30 proposals shall be deemed withdrawn. Once the approved operation is
31 completed, the Parties shall follow the procedure provided in this Article
32 10.2 {Exploratory Operations at Objective Depth) for all other proposals
33 for operations in the well bore until such time as the well is temporarily
a4 abandoned or permanently abandoned.

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4 10.2.3 Response on Next Highest Priority Proposal

2 if the proposal with the highest priority is not approved, then the next
3 highest priority proposal shall be deemed the highest priority proposal
4 and it shall be subject to the approval procedure in Article 10.2.2
5 (Response to Highest Priority Proposal). This process will continue until
8 a proposal is approved to either temporarily abandon or permanently
7 plug and abandon an Exploratory Well.
a 10.2.4 Non-Participating Parties in Exploratory Operations at Objective
a Depth
10 A Non-Participating Party in an Exploratory Operation conducted on an
4 Exploratory Well after it has reached its Objective Depth [except as
42 provided for in this Article 10.2 (Exploratory Operations at Objective
43 Depth)| is subject to Article 16.5.1.1 (Non-Consent Exploratory
14 Operations at Objective Depth) and is relieved of the Costs and risks of
18 that Exploratory Operation, except that a Non-Participating Party in that
6 Exploratory Operation remains responsible for its Participating Interest
47 Share of the Casts of plugging and abandoning an Exploratory Well,
48 jess and except all Costs of plugging and abandoning associated sclely
49 with the subsequent Exploratory Operation in which it was a Non-
20 Participating Party.
2 10.2.5 Participation in a Sidetrack or Deepening by a Non-Participating
22 Party in an Exploratory Well at Initial Objective Depth
23 if an Exploratory Well is drilled to its initial Objective Depth and a Non-
24 Participating Party in that Exploratory Well becomes a Participating
26 Party in an approved Sidetracking or Deepening under Article 10.2(c)
25 or (d), that former Non-Participating Party shall become an
2 Underinvested Party in an amount equal to its Non-Participating
28 Interest Share of the Costs of that Exploratory Well prior to that
28 Sidetracking or Deepening. The original Participating Parties in an
30 Exploratory Well are Overinvested Parties in that amount. A former
3 Non-Participating Party in an Exploratory Well that becomes a
32 Participating Party in an approved Sidetracking or Deepening remains
33 a Non-Participating Party in that Exploratory Well to initial Objective
4 Depth until (a) its Underinvestment is eliminated under Article 16.9
35 (Settlement of Underinvestments), and (b) the Hydrocarbon
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1 Recoupment recoverable under Article 16.5.1 (Non-Consent

2 Exploratory Operations down to Objective Depth in the First Exploratory
3 Well}, less the amount of the Underinvestment, has been recovered by
4 the original Participating Parties. if a former Non-Participating Party
5 becomes a Participating Party in more than one approved Sidetracking
6 or Deepening in the same Exploratory Well, that former Non-
7 . Participating Party shall become an Underinvested Party only with
8 regard to the first Sidetracking or Deepening it approves: however, that
9 Underinvestment shall not be relieved by an Underinvested Party’s
40 subsequent participation.
11 40.3 Permanent Plugging and Abandonment and Cost Allocation
42 The permanent plugging and abandonment of an Exploratory Well that:
13 (a) is to be plugged due to mechanical difficulties or impenetrable conditions
44 before the well has been drilled to its Objective Depth under Article 10.1.4
45 (b),
16 (b) is to be plugged under Article 10.2 (Exploratory Operations at Objective
47 Depth), or
18 {c) has been previously temporarily abandoned under Article 10.2 (Exploratory
19 Operations at Objective Depth)
20 and has not produced Hydrocarbons (other than as a result of Production
2 Testing), requires the approval of the Participating Parties by Vote. Approval to
22 plug and abandon an Exploratory Well that has produced Hydrocarbons (other
23 than as a result of Production Testing) shall be governed by Article 18.1
24 (Abandonment of Wells). \f a proposal to plug and abandon an Exploratory Weil
25 receives approval by Vote, the approved proposal binds all Parties. If any
28 Participating Party fails to respond within the applicable response period for a
27 proposal to plug and abandon an Exploratory Well, that Participating Party shall
28 be deemed to have approved the plugging and abandonment of that Exploratory
28 Well. If a rig is on location, a proposal to plug and abandon an Exploratory Well
30 under either Article 10.3(a) or 10.3(b) does not receive approval by Vote, and if
31 within twenty-four (24) hours (inclusive of Saturdays, Sundays, and federal
32 holidays) after receipt of that proposal no other operation is proposed (and
33 subsequently approved) for the well by a Party entitled to make a proposal, the
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4 Operator may nevertheless proceed to plug and abandon that Exploratory Well,

2 and shall give each Participating Party notice of that fact. If the proposal to plug
3 and abandon an Exploratory Well that has not produced Hydrocarbons (other
4 than as a result of Production Testing) does not receive approval by Vote, but
5 the Operator deems the well bore not to be safe or in sound enough condition for
8 it to perform further operations, the Operator may nevertheless proceed to plug
7 and abandon that Exploratory Well, and shall give each Participating Party notice
8 of that fact.
9 The Participating Parties in an Exploratory Well proposal shall pay all Costs of
10 plugging and abandoning that Exploratory Well, except all increased plugging
"1 and abandoning Costs associated solely with a Non-Consent Operation
42 approved under Article 10.2 (Exploratory Operations at Objective Depth) or
13 Article 6.2.2 (Supplemental AFEs). The Participating Parties ‘jn that Non-
44 Consent Operation are responsible for the increased plugging and abandoning
48 Costs attributable to that Non-Consent Operation.
16 10.4 Conclusion of Exploratory Operations
7 Except as provided in Article 10.1.4 (AFE Overruns and Substitute Weil) after the
48 permanent or temporary abandonment of the first Producible Well and the
19 release of the rig from that Producible Well, Exploratory Operations conclude,
20 and all subsequent operations in the Contract Area are either Appraisal
21 Operations or Development Operations.
22 ARTICLE 11 — APPRAISAL OPERATIONS
23 11.1 Proposal of Appraisal Wells
24 After the conclusion of Exploratory Operations, any Party may propose drilling an
26 Appraisal Well by giving notice of the proposal (along with the associated AFE
28 and Well Plan) to the other Parties. Each proposed Appraisal Well requires
ay approval by Election.
28 Each Non-Participating Party in an Appraisal Well will be subject to either an
29 acreage forfeiture or Hydrocarbon Recoupment as provided in Article 16 (Non-
30 Consent Operations).
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1 11.1.1 Revision of Well Plan

2 Any revisions of the Well Plan or AFE for an Appraisal Well shall take
a place under the same terms and conditions as those set forth for an
4 Exploratory Well in Article 10.1.1 (Revision of Weil Plan).
8 11.1.2 Automatic Revision of the Weil Plan

8 The Well Plan for an Appraisal Well shall automatically be revised
? under the same terms and conditions as those set forth for an
a Exploratory Well in Article 10.1.2 (Automatic Revision of the Well Plan).
9 11.1.3 Timely Operations

10 Except as provided below, drilling operations on an Appraisal Well shall
"4 be commenced within one hundred eighty (180) days after the end of
42 the period for the approval of the Appraisal Well. If the Operator,
13 except for an occurrence of Force Majeure, does not commence drilling
‘4 operations on the Appraisal Well within that one hundred eighty (180)
15 day period, the approved Appraisal Well proposal shall be deemed
16 withdrawn, with the effect as if the Appraisal Well had never been
7 proposed and approved.

18 if a Party submits an identical Appraisal Well proposal (except for any
19 necessary modifications resulting from a change in the drilling rig to be
20 utilized by the Operator) within ninety (90) days after the deemed
21 withdrawal of the approved original Appraisal Well proposal and if that
22 identical Appraisal Well proposal is approved and if the Operator is a
23 Participating Party in the identical Appraisal Well proposal, the
24 Operator shall commence drilling operations on that well within ninety
25 (90) days after the end of the response period for that proposal. If the
26 Operator, except for an occurrence of Force Majeure (excluding the
a7 inability to secure materials or a drilling rig), fails to commence drilling
28 operations on the identical Appraisal Well within that ninety (90) day
29 period, the approved identical Appraisal Well proposal shall be deemed
30 withdrawn, with the effect as if the identical Appraisal Well proposal
a had never been proposed and approved, and the Non-Operating
32 Parties may then select a substitute Operator under Article 4.2.2
33 (Substitute Operator if Operator Fails to Commence Drilling
4 Operations). Within sixty (60) days of the selection of the substitute

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1 Operator, the substitute Operator shall propose the drilling of an
2 identical Appraisal Well (except for any necessary modifications
3 resulting from a change in the drilling rig to be utilized by the substitute
4 Operator), and it shall commence drilling operations on that well within
5 ninety (90) days after the end of the period for the approval of that
8 Well.
7 lf a Party submits an identical Appraisal Well proposal (except for any
8 necessary modifications resulting from a change in the drilling rig to be
9 utilized by the Operator) within ninety (90) days after the deemed
10 withdrawal of the approved original Appraisal Well proposal and if that
4 identical Appraisal Well proposal is approved and if the Operator is not
42 a Participating Party in the identical Appraisal Well proposal, the
13 approved identical Appraisal Well proposal shall be deemed withdrawn,
14 with the effect as if the identical Appraisal Well proposal had never
48 been proposed and approved, and the Non-Operating Parties may
16 then select a substitute Operator under Article 4.2.1 (Substitute
7 Operator if Operator is a Non-Participating Party). Within sixty (60)
18 days of the selection of the substitute Operator, the substitute Operator
19 shail propose the drilling of an identical Appraisal Well (except for any
20 necessary modifications resulting from a change in the drilling rig to be
24 utilized by the substitute Operator), and it shall commence drilling
2 operations on that well within ninety (90) days after the end of the
23 period for the approval of that Well.
24 if an approved original or identical Appraisal Well proposal is deemed
25 withdrawn due to a failure to timely commence drilling operations on
28 that well, ail Costs incurred, which are attributable to the preparation
7 for, or in furtherance of, that Appraisal Well, will be chargeable to the
28 Participating Parties. Drilling operations for an Appraisal Well under
29 this Article 11.1.3 shall be deemed to have commenced on the date the
30 rig arrives on location or, if the rig is already on location, the date when
1 actual drilling operations for the approved Appraisal Well are
a2 undertaken.
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1 11.1.4 AFE Overruns and Substitute Well

2 Once an Appraisal Well is commenced, the Operator shail drill the well
3 with due diligence to its Objective Depth, subject to:
4 {a) ail supplemental AFEs required under Article 6.2.2 (Supplemental
5 AFEs);
6 (b) the Operator encountering mechanical difficulties, uncontrolled
? influx of subsurface water, loss of well contro!, abnormal well or
8 formation pressures, pressured or heaving shale, granite or other
9 practicably impenetrable substances, or other similar conditions in
40 the well bore or damage to the well bore that, in the Operator's
a sole opinion, render further well operations impractical; and
12 (c) the unanimous agreement of the Participating Parties to cease
43 . drilling an Appraisal Well before reaching Objective Depth.
44 if an Appraisal Well is abandoned due to the conditions described
48 under Article 11.1.4(b}, then any Participating Party in the abandoned
16 Appraisal Well may, within thirty (30) days after abandonment of that
47 Appraisal Well, propose the drilling of a substitute well for the
48 abandoned Appraisal Well by giving notice of the proposal (along with
49 the associated AFE and Well Pian) to all other Participating Parties in
20 the abandoned Appraisal Well, and that proposal requires approval by
2 Election of the Participating Parties in the abandoned Appraisal Well.
22 Notwithstanding any contrary provision of Article 11.5 (Conclusion of
23 Appraisal Operations), the substitute well shall be an Appraisal Well.
24 The Well Plan for the substitute Appraisal Well shall be substantially
25 the same as the abandoned Appraisal Well’s Well Plan and shall also
26 take into account the conditions that rendered further drilling of the
a abandoned Appraisal Well impractical.
28 Each Non-Participating Party in a substitute Appraisal Well or an
29 approved supplemental AFE for an Appraisal Well will be subject to
30 either an acreage forfeiture or Hydrocarbon Recoupment, as provided
31 in Article 16 (Non-Consent Operations).
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{ 11.2 Appraisal Operations at Objective Depth

2 After an Appraisal Well has been drilled to its Objective Depth and all operations
4 in the controlling AFE have been conducted or terminated (except temporary
4 abandonment and permanent plugging and abandonment) and ail jogs and test
8 results have been distributed to the Participating Parties, the Operator shall
6 promptly notify the Parties entitled to make an Election on an operation proposed
? under this Article 11.2 (Appraisal Operations at Objective Depth), of its proposal
a to conduct subsequent operations in the well. Except for a proposal to
3 permanently plug and abandon the well, the Operator's proposal shall include an
10 associated AFE and a plan for the operation. The Parties entitled to make that
1 Election are:

12 (a) the Participating Parties, and

43 (b) the Non-Participating Parties in the original well proposal, if (1) the
14 subsequent Appraisal Operation proposal is made at the well's Objective
15 Depth and is for a Sidetrack or Deepening and (2) Article 16.4 (Non-
16 Consent Operations to Maintain Contract Area) was not applicable to the
7 drilling of that Appraisal Well.
1a The Operator's proposal shall be for one of the following operations.

19 (a) conduct Additional Testing, Sidewall Coring, or Logging of the formations
20 encountered prior to setting production casing;
21 (b) Sidetrack the well bore to core the formations encountered;
2 (c) Sidetrack the well:
23 (d) Deepen the well to a new Objective Depth,
24 (e) conduct Production Testing;
26 (f} conduct other operations on the well not listed;
28 (g) temporarily abandon the well; or
a (h) permanently plug and abandon the well.
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1 if the Appraisal Well is temporarily abandoned under (g), then any additional

2 operation in that well shall be proposed as a new well operation. A proposal to
3 complete an Appraisal Well that has been temporarily abandoned under clause
4 (g) shall be deemed a Development Operation proposal.

5 if the Operator fails to submit its proposal to the Participating Parties within
6 twenty-four (24) hours (inclusive of Saturdays, Sundays, and federal holidays)
7 after receipt by the Participating Parties of all logs and test results from an
B Appraisal Well, then any Participating Party may make a proposal. In that event,
a the procedures in this Article 11.2 shall apply to that proposal, and any reference
40 in this Article 11.2 to the “Operator's proposal” shall include a proposal made by

1 a Participating Party.

12 11.2.1 Response to Operator's Proposal

13 A Participating Party may, within twenty-four (24) hours (inclusive of
44 Saturdays, Sundays, and federal holidays) of its receipt of the
18 Operators proposal, make a separate proposal (along with an
18 associated AFE and a plan for the operation, except if the proposal is
7 to permanently plug and abandon the well) for one of the operations in
48 Article 11.2 (Appraisal Operations at Objective Depth), and the
49 Operator, immediately after the expiration of the twenty-four (24) hour
20 period for making a separate proposal shall provide the Parties entitled
2 to make an Election with a copy of all separate proposals so made. If
22 no separate proposal is made, the Parties entitled to make an Election
23 shail, within forty-eight (48) hours (inclusive of Saturdays, Sundays,
24 and federal holidays) of its receipt of the Operator's proposal, make an
as Election on the Operator's proposal (except for a proposal to
26 permanently plug and abandon). if a separate proposal is made, the
a7 Parties entitled to make an Election shall make an Election under the
2a procedure in Article 11.2.2 (Response to Highest Priority Proposal). If
2 a proposal to permanently plug and abandon the well is the only
30 operation proposed, then the approval and Cost allocation provisions of
31 Article 11.4 (Permanent Plugging and Abandonment and Cost
32 Allocation) shall apply to that proposal. If Article 8.3 (Second
33 Opportunity to Participate) or Article 8.4 (Participation by Fewer Than
34 All Parties), or both, apply to any Election in Article 11.2 (Appraisal
35 Operations at Objective Depth), then the response period in those

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’ articles shall be twenty-four (24) hours (inclusive of Saturdays,

2 Sundays, and federal holidays) instead of forty-eight (48) hours
3 (exclusive of Saturdays, Sundays, and federal holidays).
A Notwithstanding any contrary provision of this Agreement, if one or
5 more operations are proposed before the distribution of information
é from the previously approved operation, then the response periods
7 provided above shall not begin until the Parties entitled to make an
8 Election have received the information from the previously approved
a operation.
40 11.2.2 Response to Highest Priority Proposal
4 lf a separate proposal is made, each Party entitled to make an Election
12 shail, within twenty-four (24) hours (inclusive of Saturdays, Sundays,
13 and federal holidays) after its receipt from the Operator of a compiete
44 copy of all separate proposals, make its Election on the highest priority
18 proposal (except a proposal to permanently plug and abandon the
46 well). Article 11.2(a) has the highest priority, and Article 11.2(h) has
47 the lowest priority. If different depths or locations are proposed for the
18 same type of operation, priority shall be given to the deepest depth. If
18 the proposal with the highest priority is approved, then the lower priority
20 proposals shall be deemed withdrawn. Once the approved operation is
a completed, the Parties shall follow the procedure provided in Article
22 11.2 (Appraisal Operations at Objective Depth) for all other proposals
23 for operations in the well bore until such time as the well is temporarily
24 abandoned or permanently abandoned.
28 11.2.3 Response on Next Highest Priority Proposal
28 If the proposal with the highest priority is not approved, then the next
2 highest priority proposal shall be deemed the highest priority proposal
28 and it shall be subject to the approval procedure in Article 14.2.2
29 (Response to Highest Priority Proposal). This process will continue
20 until a proposal is approved to either temporarily abandon or
3t permanently plug and abandon an Appraisal Well.
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‘ 11.2.4 Non-Participating Parties in Appraisal Operations at Objective

2 Depth
3 A Non-Participating Party in an Appraisal Operation conducted on an
4 Appraisal Well after it has reached its Objective Depth [except as
5 provided for in this Article 11.2 (Appraisal Operations at Objective
8 Depth)] is subject to Article 16.5.2 (Non-Consent Appraisal Operations)
7 and is relieved of the Costs and risks of that Appraisal Operation,
a except that a Non-Participating Party in that Appraisal Operation
9 remains responsible for its Participating Interest Share of the Costs of
40 plugging and abandoning an Appraisal Well, less and except all Costs
1 of plugging and abandoning associated solely with the subsequent
42 Appraisal Operation in which it was a Non-Participating Party.
43 41.2.5 Participation in a Sidetrack or Deepening by a Non-Participating
44 Party in an Appraisal Well at Initial Objective Depth
18 if an Appraisal Well is drilled to its Objective Depth and a Non-
16 Participating Party in that Appraisal Well becomes a Participating Party
47 in an approved Sidetracking or Deepening under Article 11.2(c) or (d),
48 that former Non-Participating Party shall become an Underinvested
19 Party in an amount equal to its Non-Participating Interest Share of the
20 Costs of that Appraisal Well to its Objective Depth prior to that
24 Sidetracking or Deepsning. The originai Participating Parties in that
22 Appraisal Well are Overinvested Parties in that amount. A former Non-
23 Participating Party in an Appraisal Well that becomes a Participating
24 Party in an approved Sidetracking or Deepening, remains a Non-
25 Participating Party in the Appraisal Well to initial Objective Depth until
28 {a) its Underinvestment is eliminated under Article 16.9 (Settlement of
a Underinvestments), and (o) the Hydrocarbon Recoupment recoverable
28 under Article 16.5.2 (Non-Consent Appraisal Operations) less the
29 Underinvestment, has been recovered by the original Participating
30 Parties. {!f a former Non-Participating Party becomes a Participating
3 Party in more than one approved Sidetracking or Deepening in the
32 same Appraisal Well, that former Non-Participating Party shall become
33 an Underinvested Party only with regard to the first Sidetracking or
34 Deepening it approves; however, that Underinvestment shall not be
3g relieved by an Underinvested Party's subsequent participation.
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1 11.3 Appraisal Well Proposals That Include Drilling Below the Deepest
2 Producible Reservoir
3 Any Party may propose an Appraisal Well with an Objective Depth below the
4 Deepest Producible Reservoir, and in response to that well proposal each Party
g may in writing limit its participation in the drilling of that Appraisal Well to the
6 base of the Deepest Producible Reservoir to be penetrated by that Appraisal
7 Well. A Party who limits its participation in an Appraisal Well to the base of the
8 Deepest Producible Reservoir shail bear its Participating Interest Share of the
9 Cost and risk of drilling that Appraisal Well to the base of the Deepest Producible
40 Reservoir (including abandonment), and it shall be a Non-Participating Party for
1" the Deeper Drilling and shall be subject to Article 16.5.2 (Non-Consent Appraisal
12 Operations) in regard to drilling between those depths.
43 14.4 Permanent Plugging and Abandonment and Cost Allocation
14 The permanent plugging and abandonment of an Appraisal Well that:
15 (a) is to be plugged due to mechanical difficulties or impenetrable conditions
16 before the well has been drilled to its Objective Depth under Article 11.1.4
17 (b),
18 (b) is to be plugged under Article 11.2 (Appraisal Operations at Objective
19 Depth), or
20 (c) has been previously temporarily abandoned under Article 11.2 (Appraisal
21 Operations at Objective Depth)
22 and has not produced Hydrocarbons (other than as a result of Production
23 Testing) requires the approval of the Participating Parties by Vote. Approval to
24 plug and abandon an Appraisal Well that has produced Hydrocarbons (other
25 than as a result of Production Testing) shall be governed by Article 718.1
26 (Abandonment of Wells). If a proposal to plug and abandon an Appraisal Well
a7 receives approval by Vote, the approved proposal binds all Parties. If any
28 Participating Party fails to respond within the applicable response period for a
28 proposal to plug and abandon an Appraisal Weil, that Participating Party shall be
20 deemed to have approved the plugging and abandonment of that Appraisal Well.
31 if a rig is on location and a proposal to plug and abandon an Appraisal Well
32 under either Article 11.4(a) or 11.4(b) does not receive approval by Vote, and if
23 within twenty-four (24) hours (inclusive of Saturdays, Sundays, and federal
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1 holidays) from receipt of that proposal no other operation is proposed (and
2 subsequently approved) for the well by a Party entitled to make a proposal, the
3 Operator may nevertheless proceed to plug and abandon that Appraisal Well,
4 and shall give each Participating Party notice of that fact. If the proposal to plug
5 and abandon an Appraisal Well that has not produced Hydrocarbons {other than
8 as a result of Production Testing) does not receive approval by Vote, but the
7 Operator deems the well bore not to be safe or in sound enough condition for it
8 to perform further operations, the Operator may nevertheless proceed fo plug
9 and abandon that Appraisal Well, and shall give each Participating Party notice
10 of that fact.
4 The Participating Parties in an Appraisal Well proposal shall pay all Costs of
12 plugging and abandoning that Appraisal Well, except all increased plugging and
13 abandoning Costs associated solely with a Non-Consent Operation approved
4a under Article 11.2 (Appraisal Operations at Objective Depth) or Article 6.2.2
16 (Supplemental AFEs). The Participating Parties in that Non-Consent Operation
18 are responsible for the increased plugging and abandoning Cosis attributable to
47 that Non-Consent Operation.
18 41.5 Conclusion of Appraisal Operations
49 Upon the earlier of:
20 (a) the approval of the conclusion of Appraisal Operations by Vote; or
2 (b) the point in time when no Appraisal Operation has been approved within a
22 period of twelve (12) months from the rig release (or cessation of
23 operations) from the previous Appraisal Operation; or
24 {c) the abandonment of the third (3) Appraisal Well, whether permanent or
26 temporary, and the release of the rig from that Appraisal Well (including
26 any substitute well for that Appraisal Well)
27 Appraisal Operations for the ensuing Development Phase shall conclude and all
28 subsequent operations in the Contract Area will be Development Operations for
28 the ensuing Development Phase, including operations on temporarily abandoned
30 Appraisal Wells, except as provided in Article 11.6 (Operations Before the
31 Approval of the Development Plan).
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